Case 19-34054-sgj11 Doc 1877-8 Filed 02/01/21   Entered 02/01/21 18:22:33   Page 1 of 28




                         EXHIBIT KKKKKKK
2/1/2021   Case 19-34054-sgj11 Doc 1877-8 Filed 02/01/21
                                              WebCivil            Entered
                                                       Supreme - eFiled      02/01/21
                                                                        Documents Detail 18:22:33                               Page 2 of 28




 WebCivil Supreme - eFiled Documents Detail
 Court:              New York Supreme Court
 Index Number:       0650097/2009
 Case Name:          UBS SECURITIES vs. HIGHLAND CAPITAL MANAGEMENT LP
 Case Type:          CD-ECONTRACT
 Track:              Complex

 Document List - Click on the document name to view the document
 Document Date                                                                                                                  Motion
 #        Received/Filed Document                               Description                                                     #      Filing User
 1             02/24/2009        Sum m ons                      Sum m ons                                                              GR EGO R Y   A
                                                                                                                                       MAR KEL
 2                               C om plaint                    C om plaint                                                            GR EGO R Y   A
                                                                                                                                       MAR KEL
 2-1                             EXHIBIT(S)                     Ex hibit A                                                             GR EGO R Y   A
                                                                                                                                       MAR KEL
 2-2                             EXHIBIT(S)                     Ex hibit B                                                             GR EGO R Y   A
                                                                                                                                       MAR KEL
 2-3                             EXHIBIT(S)                     Ex hibit C                                                             GR EGO R Y   A
                                                                                                                                       MAR KEL
 2-4                             EXHIBIT(S)                     Ex hibit D                                                             GR EGO R Y   A
                                                                                                                                       MAR KEL
 2-5                             EXHIBIT(S)                     Ex hibit E                                                             GR EGO R Y   A
                                                                                                                                       MAR KEL
 2-6                             EXHIBIT(S)                     Ex hibit F                                                             GR EGO R Y   A
                                                                                                                                       MAR KEL
 3             03/03/2009        AFFIR MATIO N/AFFIDAVIT        Affidavit of Se rvice of Sum m ons and C om plaint on                  GR EGO R Y   A
                                 O F SER VIC E                  De fe ndant Highland C apital Manage m e nt, L.P. Via                  MAR KEL
                                                                The ir R e giste re d Age nt: C orporation Se rvice C om pany
 4             03/10/2009        AFFIR MATIO N/AFFIDAVIT        Affidavit of Se rvice of Sum m ons and C om plaint on                  GR EGO R Y A
                                 O F SER VIC E                  De fe ndant Highland Spe cial O pportunitie s Holding                  MAR KEL
                                                                C om pany
 5             03/10/2009        AFFIR MATIO N/AFFIDAVIT        Affidavit of Se rvice of Sum m ons and C om plaint on                  GR EGO R Y A
                                 O F SER VIC E                  De fe ndant Highland C DO O pportunity Maste r Fund,                   MAR KEL
                                                                L.P.
 6             03/17/2009        STIPULATIO N - O THER          Stipulation R e : Ex te nding Tim e for De fe ndants to                HO W AR D R
                                                                Answe r, Move or O the rwise R e spond to the Sum m ons                HAW KINS
                                                                and C om plaint
 7             05/01/2009        R JI -re : Notice of Motion    R e que st For Judicial Inte rfe re nce                         001    KIER AN M
                                 ($95. fe e )                                                                                          C O R C O R AN
 8             05/01/2009        STATEMENT IN SUPPO R T         State m e nt in Support of R e que st for Assignm e nt to the 001      KIER AN M
                                 O F R EQ UEST FO R             C om m e rcial Division                                                C O R C O R AN
                                 ASSIGNMENT TO THE
                                 C O MMER C IAL DIVISIO N
 8-1           05/01/2009        EXHIBIT(S)                     C om plaint                                                     001    KIER AN M
                                                                                                                                       C O R C O R AN
 9             05/01/2009        NO TIC E O F MO TIO N          Notice of Motion to Dism iss                                    001    KIER AN M
                                                                                                                                       C O R C O R AN
 10            05/01/2009        Me m orandum O f Law In        Me m orandum of Law in Support of Motion to Dism iss            001    KIER AN M
                                 Support                                                                                               C O R C O R AN
 11            05/29/2009        STIPULATIO N - O THER          Stipulation R e : Adjournm e nt of the Motion to Dism iss       001    GR EGO R Y A
                                                                from June 1, 2009 to July 2, 2009                                      MAR KEL
 12            05/29/2009        NO TIC E O F MO TIO N          Notice of Motion for Adm ission Pro Hac Vice Paul               002    KIER AN M
                                                                Lack e y                                                               C O R C O R AN
 13            05/29/2009        Affidavit or Affirm ation in   Affirm ation of Kie ran C orcoran                               002    KIER AN M
                                 Support of Motion                                                                                     C O R C O R AN
 14            05/29/2009        Affidavit or Affirm ation in   Affidavit of Paul Lack e y                                      002    KIER AN M
                                 Support of Motion                                                                                     C O R C O R AN
 14-1          05/29/2009        EXHIBIT(S)                     C e rtificate of Good Standing                                  002    KIER AN M
                                                                                                                                       C O R C O R AN
 15            05/29/2009        Propose d O rde r              Propose d O rde r of Adm ission Pro Hac Vice                    002    KIER AN M
                                                                                                                                       C O R C O R AN
 16            05/29/2009        NO TIC E O F MO TIO N          Notice of Motion for Adm ission Pro Hac Vice Michae l           003    KIER AN M
                                                                Aige n                                                                 C O R C O R AN
 17            05/29/2009        Affidavit or Affirm ation in   Affirm ation of Kie ran C orcoran                               003    KIER AN M

https://iapps.courts.state.ny.us/webcivil/FCASeFiledDocsDetail?county_code=mX_PLUS_funevHqkNtw6wbl9UCA%3D%3D&txtIndexNo=jITJZojBbCBCYjm%…               1/27
2/1/2021   Case 19-34054-sgj11 Doc 1877-8 Filed 02/01/21
                                              WebCivil            Entered
                                                       Supreme - eFiled      02/01/21
                                                                        Documents Detail 18:22:33                               Page 3 of 28
                                 Support of Motion                                                                                    C O R C O R AN
 18            05/29/2009        Affidavit or Affirm ation in   Affidavit of Michae l Aige n                                    003   KIER AN M
                                 Support of Motion                                                                                    C O R C O R AN
 18-1          05/29/2009        EXHIBIT(S)                     C e rtificate of Good Standing                                  003   KIER AN M
                                                                                                                                      C O R C O R AN
 19            05/29/2009        Propose d O rde r              Propose d O rde r Adm itting C ounse l Pro Hac Vice             003   KIER AN M
                                                                                                                                      C O R C O R AN
 20            06/11/2009        Propose d So-O rde re d        Stipulation and Propose d O rde r for Enlarge d Brie fs               GR EGO R Y A
                                 Stipulation                                                                                          MAR KEL
 21            06/16/2009        So O rde re d Stipulation    SO O R DER ED STIPULATIO N e nte re d in the office of the              C lifford R e ig
                                                              C ounty C le rk on June 16, 2009                                        court use r
 22            06/16/2009        MEMO R ANDUM O F LAW IN UBS'S Me m orandum of Law in O pposition to                        001       GR EGO R Y A
                                 O PPO SITIO N                De fe ndants' Motion to Dism iss                                        MAR KEL
 23            06/16/2009        AFFIDAVIT O R                Affidavit of Jason Jurge ns in O pposition to De fe ndants' 001         GR EGO R Y A
                                 AFFIR MATIO N IN             Motion to Dism iss                                                      MAR KEL
                                 O PPO SITIO N TO MO TIO N
 24            06/24/2009        Signe d De cision            SIGNED DEC ISIO N e nte re d in the office of the C ounty     002       C lifford R e ig
                                                              C le rk on June 24, 2009                                                court use r
 25            06/29/2009        Signe d De cision            SIGNED DEC ISIO N e nte re d in the office of the C ounty     003       C lifford R e ig
                                                              C le rk on June 29, 2009                                                court use r
 26            07/01/2009        Me m orandum O f Law In      De fe ndants' R e ply Me m orandum of Law in Support of       001       KIER AN M
                                 R e ply                      Motion to Dism ss                                                       C O R C O R AN
 27            09/18/2009        Le tte r / C orre sponde nce Le tte r from Gre gory A. Mark e l of C adwalade r to Kie ran 001       GR EGO R Y A
                                                              M. C orcoran, Esq. re : Alle gations Against the Funds                  MAR KEL
 28            10/08/2009        Signe d O rde r              SIGNED O R DER with Me m orandum De cision e nte re d in 001            C arol Ann
                                                              the office of the C ounty C le rk on O ctobe r 08, 2009                 Boyce
                                                                                                                                      court use r
 29            10/08/2009        Notice of Entry                Notice of Entry                                                 001   GR EGO R Y A
                                                                                                                                      MAR KEL
 30            10/14/2009        Propose d O rde r              Propose d Stipulation and O rde r for Production and                  GR EGO R Y A
                                                                Ex change of C onfide ntial Inform ation                              MAR KEL
 31            10/14/2009        Le tte r / C orre sponde nce   Le tte r from Gre gory A. Mark e l to Hon. Be rnard J. Frie d         GR EGO R Y A
                                                                                                                                      MAR KEL
 32            10/19/2009        Answe r                        Answe r of De fe ndants Highland C DO O pportunity                    KIER AN M
                                                                Maste r Fund, L.P. and Hghland Spe cial O pportunitie s               C O R C O R AN
                                                                Holding C om pany
 33            10/19/2009        Answe r                        Answe r of De fe ndant Highland C apital Manage m e nt,               KIER AN M
                                                                L.P.                                                                  C O R C O R AN
 34            10/22/2009        Notice of Appe al (Fe e        Notice of Appe al of O rde r Date d O ctobe r 6, 2009                 KIER AN M
                                 re quire d - 65.00)                                                                                  C O R C O R AN
 35            10/22/2009        Pre -Argum e nt State m e nt   Pre Argum e nt State m e nt                                           KIER AN M
                                                                                                                                      C O R C O R AN
 36            10/23/2009        Le tte r / C orre sponde nce   Le tte r re que sting C ourt's inte rve ntion to re solve             GR EGO R Y A
                                                                discove ry dispute                                                    MAR KEL
 37            10/28/2009        Le tte r / C orre sponde nce   Le tte r to Hon. Be rnard J. Frie d                                   KIER AN M
                                                                                                                                      C O R C O R AN
 37-1          10/28/2009        EXHIBIT(S)                     Ex hibit A                                                            KIER AN M
                                                                                                                                      C O R C O R AN
 38            11/02/2009        Answe r                        Am e nde d Answe r and C ounte rclaim s of Highland                   KIER AN M
                                                                C apital Managm e nt, L.P.                                            C O R C O R AN
 39            11/02/2009        Answe r                        Am e nde d Answe r of C DO Fund and SO HC                             KIER AN M
                                                                                                                                      C O R C O R AN
 40            11/02/2009        Le tte r / C orre sponde nce   Le tte r to Hon. Be rnard J. Frie d from De fe ndants in              KIER AN M
                                                                R e sponse to Plaintiffs' O ctobe r 23, 2009 Le tte r                 C O R C O R AN
 40-1          11/02/2009        EXHIBIT(S)                     Affidavit of Andre i Dore nbaum                                       KIER AN M
                                                                                                                                      C O R C O R AN
 41            11/04/2009        Le tte r / C orre sponde nce   Le tte r from Gre gory A. Mark e l of C adwalade r in                 GR EGO R Y A
                                                                opposition to Highland's re que st for a stay pe nding                MAR KEL
                                                                appe al
 41-1          11/04/2009        EXHIBIT(S)                     Ex hibit A                                                            GR EGO R Y A
                                                                                                                                      MAR KEL
 42            11/04/2009        Le tte r / C orre sponde nce   Le tte r of Howard R . Hawk ins, Jr. of C adwalade r in R e ply       HO W AR D R
                                                                to De fe ndants' O pposition to Motion to C om pe l                   HAW KINS
 44            12/02/2009        NO TIC E O F MO TIO N          Plaintiff C ounte rclaim De fe ndant UBS' Motion to             004   JASO N
                                                                Dism iss Highland C apital's C ounte rclaim s                         JUR GENS
 44-1          11/23/2009        EXHIBIT(S)                     Affidavit of Jason Jurge ns in Support of Plaintiff             004   JASO N
                                                                C ounte rclaim De fe ndant UBS' Motion to Dism iss                    JUR GENS
                                                                Highland C apital's C ounte rclaim s
 44-2          11/23/2009        EXHIBIT(S)                     Ex hibit A                                                      004   JASO N
                                                                                                                                      JUR GENS
 44-3          11/23/2009        EXHIBIT(S)                     Ex hibit B                                                      004   JASO N
                                                                                                                                      JUR GENS
 44-4          11/23/2009        EXHIBIT(S)                     Ex hibit C                                                      004   JASO N
                                                                                                                                      JUR GENS
 44-5          11/23/2009        EXHIBIT(S)                     Ex hibit D                                                      004   JASO N
                                                                                                                                      JUR GENS
 44-6          11/23/2009        EXHIBIT(S)                     Ex hibit E                                                      004   JASO N
                                                                                                                                      JUR GENS
 44-7          11/23/2009        EXHIBIT(S)                     Ex hibit F                                                      004   JASO N
                                                                                                                                      JUR GENS
 44-8          11/23/2009        EXHIBIT(S)                     Ex hibit G                                                      004   JASO N
                                                                                                                                      JUR GENS

https://iapps.courts.state.ny.us/webcivil/FCASeFiledDocsDetail?county_code=mX_PLUS_funevHqkNtw6wbl9UCA%3D%3D&txtIndexNo=jITJZojBbCBCYjm%…                2/27
2/1/2021   Case 19-34054-sgj11 Doc 1877-8 Filed 02/01/21
                                              WebCivil            Entered
                                                       Supreme - eFiled      02/01/21
                                                                        Documents Detail 18:22:33                      Page 4 of 28
 44-9          11/23/2009        EXHIBIT(S)                  Ex hibit H                                                004    JASO N
                                                                                                                              JUR GENS
 44-10         11/23/2009        EXHIBIT(S)                  Ex hibit I                                                004    JASO N
                                                                                                                              JUR GENS
 45            11/23/2009        Affidavit or Affirm ation   Ex hibit J to Affidavit of Jason Jurge ns in Support of   004    JASO N
                                                             Plaintiff C ounte rclaim De fe ndant UBS' Motion to              JUR GENS
                                                             Dism iss Highland C apital's C ounte rclaim s
 45-1          11/23/2009        EXHIBIT(S)                  Ex hibit K                                                004    JASO N
                                                                                                                              JUR GENS
 45-2          11/23/2009        EXHIBIT(S)                  Ex hibit L                                                004    JASO N
                                                                                                                              JUR GENS
 45-3          11/23/2009        EXHIBIT(S)                  Ex hibit M                                                004    JASO N
                                                                                                                              JUR GENS
 45-4          11/23/2009        EXHIBIT(S)                  Ex hibit N                                                004    JASO N
                                                                                                                              JUR GENS
 45-5          11/23/2009        EXHIBIT(S)                  Ex hibit O                                                004    JASO N
                                                                                                                              JUR GENS
 45-6          11/23/2009        EXHIBIT(S)                  Ex hibit P                                                004    JASO N
                                                                                                                              JUR GENS
 45-7          11/23/2009        EXHIBIT(S)                  Ex hibit Q                                                004    JASO N
                                                                                                                              JUR GENS
 46            11/23/2009        Me m orandum O f Law In     Me m orandum of Law in Support of Plaintiff               004    JASO N
                                 Support                     C ounte rclaim De fe ndant UBS' Motion to Dism iss               JUR GENS
                                                             Highland C apital's C ounte rclaim s
 47            12/08/2009        Signe d O rde r             SIGNED O R DER e nte re d in the office of the C ounty           C arol Ann
                                                             C le rk on De ce m be r 08, 2009                                 Boyce
                                                                                                                              court use r
 48            12/08/2009        Notice of Entry             Notice of Entry of O rde r date d De ce m be r 4, 2009           JASO N
                                                                                                                              JUR GENS
 49            12/08/2009        STIPULATIO N - O THER     Stipulation Adjourning Motion to Dism iss Highland          004    GR EGO R Y A
                                                           C apital's C ounte rclaim s from 12/9/09 to 12/30/09               MAR KEL
 50            12/14/2009        MEMO R ANDUM O F LAW IN Highland C apital Manage m e nt, L.P.'s Me m orandum of       004    KIER AN M
                                 O PPO SITIO N             Law in O pposition to Motion to Dism iss C ounte rclaim s          C O R C O R AN
 51            12/14/2009        AFFIDAVIT O R             Affidavit of Philip Brane r in O pposition to Motion to     004    KIER AN M
                                 AFFIR MATIO N IN          Dism iss C ounte rclaim s                                          C O R C O R AN
                                 O PPO SITIO N TO MO TIO N
 51-1          12/14/2009        EXHIBIT(S)                Ex hibit A to Affidavit of Philip Brane r                   004    KIER AN M
                                                                                                                              C O R C O R AN
 51-2          12/14/2009        EXHIBIT(S)                  Ex hibit B to Affidavit of Philip Brane r                 004    KIER AN M
                                                                                                                              C O R C O R AN
 51-3          12/14/2009        EXHIBIT(S)                  Ex hibit C to Affidavit of Philip Brane r                 004    KIER AN M
                                                                                                                              C O R C O R AN
 51-4          12/14/2009        EXHIBIT(S)                  Ex hibit D to Affidavit of Philip Brane r                 004    KIER AN M
                                                                                                                              C O R C O R AN
 51-5          12/14/2009        EXHIBIT(S)                  Ex hibit E to Affidavit of Philip Brane r                 004    KIER AN M
                                                                                                                              C O R C O R AN
 51-6          12/14/2009        EXHIBIT(S)                  Ex hibit F to Affidavit of Philip Brane r                 004    KIER AN M
                                                                                                                              C O R C O R AN
 51-7          12/14/2009        EXHIBIT(S)                  Ex hibit G to Affidavit of Philip Brane r                 004    KIER AN M
                                                                                                                              C O R C O R AN
 52            12/14/2009        AFFIDAVIT O R             Affidavit of Ke vin Latim e r in O pposition to Motion to   004    KIER AN M
                                 AFFIR MATIO N IN          Dism iss C ounte rclaim s                                          C O R C O R AN
                                 O PPO SITIO N TO MO TIO N
 53            12/14/2009        AFFIDAVIT O R             Affidavit of Isaac Le ve nton in O pposition to Motion to   004    KIER AN M
                                 AFFIR MATIO N IN          Dism iss C ounte rclaim s                                          C O R C O R AN
                                 O PPO SITIO N TO MO TIO N
 54            12/14/2009        AFFIDAVIT O R             Affidavit of Isaac Le ve nton                               004    KIER AN M
                                 AFFIR MATIO N IN                                                                             C O R C O R AN
                                 O PPO SITIO N TO MO TIO N
 54-1          12/14/2009        EXHIBIT(S)                Ex hibit A to Le ve nton Affidavit                          004    KIER AN M
                                                                                                                              C O R C O R AN
 54-2          12/14/2009        EXHIBIT(S)                  Ex hibit B to Le ve nton Affidavit                        004    KIER AN M
                                                                                                                              C O R C O R AN
 54-3          12/14/2009        EXHIBIT(S)                  Ex hibit C to Le ve nton Affidavit                        004    KIER AN M
                                                                                                                              C O R C O R AN
 54-4          12/14/2009        EXHIBIT(S)                  Ex hibit D to Le ve nton Affidavit                        004    KIER AN M
                                                                                                                              C O R C O R AN
 54-5          12/14/2009        EXHIBIT(S)                  Ex hibit E to Le ve nton Affidavit                        004    KIER AN M
                                                                                                                              C O R C O R AN
 54-6          12/14/2009        EXHIBIT(S)                  Ex hibit F to Le ve nton Affidavit                        004    KIER AN M
                                                                                                                              C O R C O R AN
 54-7          12/14/2009        EXHIBIT(S)                  Ex hibit G to Le ve nton Affidavit                        004    KIER AN M
                                                                                                                              C O R C O R AN
 54-8          12/14/2009        EXHIBIT(S)                  Ex hibit H to Le ve nton Affidavit                        004    KIER AN M
                                                                                                                              C O R C O R AN
 54-9          12/14/2009        EXHIBIT(S)                  Ex hibit I to Le ve nton Affidavit                        004    KIER AN M
                                                                                                                              C O R C O R AN
 54-10         12/14/2009        EXHIBIT(S)                  Ex hibit J to Le ve nton Affidavit                        004    KIER AN M
                                                                                                                              C O R C O R AN
 55            12/14/2009        AFFIDAVIT O R             Affidavit of Isaac Le ve nton                               004    KIER AN M
                                 AFFIR MATIO N IN                                                                             C O R C O R AN
                                 O PPO SITIO N TO MO TIO N

https://iapps.courts.state.ny.us/webcivil/FCASeFiledDocsDetail?county_code=mX_PLUS_funevHqkNtw6wbl9UCA%3D%3D&txtIndexNo=jITJZojBbCBCYjm%…      3/27
2/1/2021   Case 19-34054-sgj11 Doc 1877-8 Filed 02/01/21
                                              WebCivil            Entered
                                                       Supreme - eFiled      02/01/21
                                                                        Documents Detail 18:22:33                                 Page 5 of 28
 55-1          12/14/2009        EXHIBIT(S)                     Ex hibit K to Le ve nton Affidavit                                004   KIER AN M
                                                                                                                                        C O R C O R AN
 56            12/14/2009        AFFIDAVIT O R             Affidavit of Gibran Mahm ud in O pposition to Motion to                004   KIER AN M
                                 AFFIR MATIO N IN          Dism iss C ounte rclaim s                                                    C O R C O R AN
                                 O PPO SITIO N TO MO TIO N
 56-1          12/14/2009        EXHIBIT(S)                Ex hibit A to Mahm ud Affidavit                                        004   KIER AN M
                                                                                                                                        C O R C O R AN
 57            12/14/2009        AFFIDAVIT O R             Affidavit of Paul M. R oos in O pposition to Motion to                 004   KIER AN M
                                 AFFIR MATIO N IN          Dism iss C ounte rclaim s                                                    C O R C O R AN
                                 O PPO SITIO N TO MO TIO N
 57-1          12/14/2009        EXHIBIT(S)                Ex hibit A to R oos Affidavit                                          004   KIER AN M
                                                                                                                                        C O R C O R AN
 57-2          12/14/2009        EXHIBIT(S)                     Ex hibit B to R oos Affidavit                                     004   KIER AN M
                                                                                                                                        C O R C O R AN
 58            12/18/2009        Le tte r / C orre sponde nce   Le tte r from Gre gory A. Mark e l to Judge Frie d re garding           GR EGO R Y A
                                                                Discove ry Dispute C once rning the Scope of Discove ry                 MAR KEL
 59            12/21/2009        Docum e nt De le te d
 60            12/21/2009        Signe d O rde r                SIGNED O R DER e nte re d in the office of the C ounty                  C lifford R e ig
                                                                C le rk on De ce m be r 21, 2009                                        court use r
 61            12/21/2009        STIPULATIO N - O THER          Stipulation and [Propose d] Sche duling O rde r                         GR EGO R Y A
                                                                                                                                        MAR KEL
 62            12/21/2009        STIPULATIO N - O THER          [Propose d] Sche duling O rde r                                         GR EGO R Y A
                                                                                                                                        MAR KEL
 63            12/21/2009        Le tte r / C orre sponde nce   Le tte r from Kie ran M. C orcoran to Hon. Be rnard J. Frie d           KIER AN M
                                                                date d De ce m be r 21, 2009                                            C O R C O R AN
 64            12/22/2009        Signe d De cision              e nte re d in the office of the C ounty C le rk on De ce m be r         C lifford R e ig
                                                                22, 2009                                                                court use r
 65            12/22/2009        Signe d O rde r                SIGNED O R DER e nte re d in the office of the C ounty                  C lifford R e ig
                                                                C le rk on De ce m be r 22, 2009 se che duling orde r                   court use r
 66            12/22/2009        Le tte r / C orre sponde nce   Le tte r from Gre gory A. Mark e l of C adwalade r to Judge             GR EGO R Y A
                                                                Frie d R e sponding to De fe ndants' C ounse l's Le tte r of            MAR KEL
                                                                De ce m be r 21, 2009 C once rning Ne w Discove ry
 67            12/23/2009        STIPULATIO N - O THER          STIPULATIO N e nte re d in the office of the C ounty C le rk            Darne ll A.
                                                                on De ce m be r 23, 2009                                                McIntosh
                                                                                                                                        court use r
 68            01/08/2010        NO TIC E O F MO TIO N          Notice of Motion to Adm it Baron O ursle r Pro Hac Vice           005   KIER AN M
                                                                                                                                        C O R C O R AN
 69            01/08/2010        Affidavit or Affirm ation in   Affirm ation of Kie ran C orcoran                                 005   KIER AN M
                                 Support of Motion                                                                                      C O R C O R AN
 70            01/08/2010        Affidavit or Affirm ation      Affidavit of Baron T. O ursle r                                   005   KIER AN M
                                                                                                                                        C O R C O R AN
 70-1          01/08/2010        EXHIBIT(S)                     Ex hibit A to Affidavit of Baron T. O ursle r                     005   KIER AN M
                                                                                                                                        C O R C O R AN
 71            01/08/2010        Me m orandum O f Law In        UBS'S R e ply Me m orandum of Law in Support of it's              004   GR EGO R Y A
                                 R e ply                        Motion to Dism iss Highland C apital's C ounte rclaim s                 MAR KEL
 72            01/08/2010        Affidavit or Affirm ation      Affidavit of Pam e la Be rgquist                                  004   GR EGO R Y A
                                                                                                                                        MAR KEL
 72-1          01/08/2010        EXHIBIT(S)                     Ex hibit A                                                        004   GR EGO R Y A
                                                                                                                                        MAR KEL
 72-2          01/08/2010        EXHIBIT(S)                     Ex hibit B                                                        004   GR EGO R Y A
                                                                                                                                        MAR KEL
 72-3          01/08/2010        EXHIBIT(S)                     Ex hibit C                                                        004   GR EGO R Y A
                                                                                                                                        MAR KEL
 72-4          01/08/2010        EXHIBIT(S)                     Ex hibit D                                                        004   GR EGO R Y A
                                                                                                                                        MAR KEL
 72-5          01/08/2010        EXHIBIT(S)                     Ex hibit E                                                        004   GR EGO R Y A
                                                                                                                                        MAR KEL
 72-6          01/08/2010        EXHIBIT(S)                     Ex hibit F                                                        004   GR EGO R Y A
                                                                                                                                        MAR KEL
 72-7          01/08/2010        EXHIBIT(S)                     Ex hibit G                                                        004   GR EGO R Y A
                                                                                                                                        MAR KEL
 72-8          01/08/2010        EXHIBIT(S)                     Ex hibit H                                                        004   GR EGO R Y A
                                                                                                                                        MAR KEL
 72-9          01/08/2010        EXHIBIT(S)                     Ex hibit I                                                        004   GR EGO R Y A
                                                                                                                                        MAR KEL
 73            01/08/2010        Affidavit or Affirm ation      Ex hibit J to Affidavit of Pam e la Be rgquist                    004   GR EGO R Y A
                                                                                                                                        MAR KEL
 73-1          01/08/2010        EXHIBIT(S)                     Ex hibit K                                                        004   GR EGO R Y A
                                                                                                                                        MAR KEL
 73-2          01/08/2010        EXHIBIT(S)                     Ex hibit L                                                        004   GR EGO R Y A
                                                                                                                                        MAR KEL
 73-3          01/08/2010        EXHIBIT(S)                     Ex hibit M                                                        004   GR EGO R Y A
                                                                                                                                        MAR KEL
 73-4          01/08/2010        EXHIBIT(S)                     Ex hibit N                                                        004   GR EGO R Y A
                                                                                                                                        MAR KEL
 73-5          01/08/2010        EXHIBIT(S)                     Ex hibit O                                                        004   GR EGO R Y A
                                                                                                                                        MAR KEL
 73-6          01/08/2010        EXHIBIT(S)                     Ex hibit P                                                        004   GR EGO R Y A
                                                                                                                                        MAR KEL
 73-7          01/08/2010        EXHIBIT(S)                     Ex hibit Q                                                        004   GR EGO R Y A
                                                                                                                                        MAR KEL
 74            01/15/2010        Le tte r / C orre sponde nce   Le tte r from Gre gory A. Mark e l to Judge Frie d Partie s             GR EGO R Y A

https://iapps.courts.state.ny.us/webcivil/FCASeFiledDocsDetail?county_code=mX_PLUS_funevHqkNtw6wbl9UCA%3D%3D&txtIndexNo=jITJZojBbCBCYjm%…                  4/27
2/1/2021   Case 19-34054-sgj11 Doc 1877-8 Filed 02/01/21
                                              WebCivil            Entered
                                                       Supreme - eFiled      02/01/21
                                                                        Documents Detail 18:22:33                                  Page 6 of 28
                                                                ne gotiate d a propose d O rde r that m e m orialize s the               MAR KEL
                                                                C ourt's de cision at January 4, 2010 te le phonic
                                                                confe re nce [attache d]
 75            01/15/2010        Propose d O rde r              Propose d O rde r                                                        GR EGO R Y A
                                                                                                                                         MAR KEL
 76            01/21/2010        Signe d O rde r                SIGNED O R DER e nte re d in the office of the C ounty                   C arol Ann
                                                                C le rk on January 21, 2010                                              Boyce
                                                                                                                                         court use r
 77            02/16/2010        Le tte r / C orre sponde nce   Le tte r from Gre gory A. Mark e l of C adwalade r to Hon.               GR EGO R Y A
                                                                Be rnard J. Frie d R e garding Plaintiffs C ounse l's R e que st         MAR KEL
                                                                for Pe rm ission to Am e nd the C om plaint, or in the
                                                                Alte rnative a Te le confe re nce to Addre ss this R e que st at
                                                                the C ourt's Earlie st C onve nie nce
 78            02/17/2010        Le tte r / C orre sponde nce   Le tte r to Hon. Be rnard J. Frie d R e garding Propose d                KIER AN M
                                                                Am e ndm e nt                                                            C O R C O R AN
 79            02/18/2010        Le tte r / C orre sponde nce   LETTER / C O R R ESPO NDENC E e nte re d in the office of the            C lifford R e ig
                                                                C ounty C le rk on Fe bruary 18, 2010 SO O R DER ED                      court use r
 80            02/18/2010        Notice of Entry                Notice of Entry of De cision and O rde r of Supre m e C ourt,      001   KIER AN M
                                                                Appe llate Division, First De partm e nt, e nte re d Fe bruary           C O R C O R AN
                                                                18, 2010, dism issing C om plaint against Highland
                                                                C apital Manage m e nt, L.P.
 81            02/19/2010        Propose d Judgm e nt           Propose d Judgm e nt Dism issing C om plaint Against               001   KIER AN M
                                                                Highland C apital Manage m e nt, L.P.                                    C O R C O R AN
 82            02/19/2010        C e rtificate R e que sting    C e rtificate R e que sting Entry of Judgm e nt Dism issing        001   KIER AN M
                                 Entry of Judgm e nt            C om plaint Against Highland C apital Manage m e nt, L.P.                C O R C O R AN
 83            02/19/2010        Bill of C osts                 Bill of C osts                                                     001   KIER AN M
                                                                                                                                         C O R C O R AN
 84            02/22/2010        JUDGMENT                       JUDGMENT e nte re d in the office of the C ounty C le rk on              Erlon Hodge
                                                                Fe bruary 22, 2010                                                       court use r
 85            02/23/2010        Notice of Entry                Notice of Entry of Judgm e nt Dism issing C om plaint                    Paul B Lack e y
                                                                Against Highland C apital Manage m e nt, L.P.
 86            02/23/2010        Le tte r / C orre sponde nce   Le tte r to Judge Frie d in advance of Fe bruary 26 Status               GR EGO R Y A
                                                                C onfe re nce                                                            MAR KEL
 86-1          02/23/2010        EXHIBIT(S)                     Ex hibit A                                                               GR EGO R Y A
                                                                                                                                         MAR KEL
 86-2          02/23/2010        EXHIBIT(S)                     Ex hibit B                                                               GR EGO R Y A
                                                                                                                                         MAR KEL
 86-3          02/23/2010        EXHIBIT(S)                     Ex hibit C                                                               GR EGO R Y A
                                                                                                                                         MAR KEL
 86-4          02/23/2010        EXHIBIT(S)                     Ex hibit D                                                               GR EGO R Y A
                                                                                                                                         MAR KEL
 86-5          02/23/2010        EXHIBIT(S)                     Ex hibit E                                                               GR EGO R Y A
                                                                                                                                         MAR KEL
 86-6          02/23/2010        EXHIBIT(S)                     Ex hibit F                                                               GR EGO R Y A
                                                                                                                                         MAR KEL
 87            02/23/2010        Le tte r / C orre sponde nce   P Lck e y le tte r to Hon. Be rnard J. Frie d                            Paul B Lack e y
 87-1          02/23/2010        EXHIBIT(S)                     Ex hibit A                                                               Paul B Lack e y
 87-2          02/23/2010        EXHIBIT(S)                     Ex hibit B                                                               Paul B Lack e y
 87-3          02/23/2010        EXHIBIT(S)                     Ex hibit C                                                               Paul B Lack e y
 88            02/24/2010        Le tte r / C orre sponde nce   Le tte r from Gre gory A. Mark e l of C adwalade r to Hon.               GR EGO R Y A
                                                                Frie d in R e ply to Lack e y Le tte r date d Fe bruary 23               MAR KEL
 89            02/24/2010        Le tte r / C orre sponde nce   2010.02.24 P. Lack e y le tte r to the Hon. Be rnard J.                  Paul B Lack e y
                                                                Frie d
 89-1          02/24/2010        EXHIBIT(S)                     Ex hibit A                                                               Paul   B   Lack e y
 89-2          02/24/2010        EXHIBIT(S)                     Ex hibit B                                                               Paul   B   Lack e y
 89-3          02/24/2010        EXHIBIT(S)                     Ex hibit C                                                               Paul   B   Lack e y
 89-4          02/24/2010        EXHIBIT(S)                     Ex hibit D                                                               Paul   B   Lack e y
 89-5          02/24/2010        EXHIBIT(S)                     Ex hibit E                                                               Paul   B   Lack e y
 89-6          02/24/2010        EXHIBIT(S)                     Ex hibit F                                                               Paul   B   Lack e y
 89-7          02/24/2010        EXHIBIT(S)                     Ex hibit G                                                               Paul   B   Lack e y
 89-8          02/24/2010        EXHIBIT(S)                     Ex hibit H                                                               Paul   B   Lack e y
 89-9          02/24/2010        EXHIBIT(S)                     Ex hibit I                                                               Paul   B   Lack e y
 89-10         02/24/2010        EXHIBIT(S)                     Ex hibit J                                                               Paul   B   Lack e y
 90            02/24/2010        Le tte r / C orre sponde nce   2010.02.24 P. Lack e y le tte r to the Hon. Be rnard J.                  Paul   B   Lack e y
                                                                Frie d
 90-1          02/24/2010        EXHIBIT(S)                     Ex hibit K                                                               Paul B Lack e y
 90-2          02/24/2010        EXHIBIT(S)                     Ex hibit L                                                               Paul B Lack e y
 90-3          02/24/2010        EXHIBIT(S)                     Ex hibit M                                                               Paul B Lack e y
 90-4          02/24/2010        EXHIBIT(S)                     Ex hibit N                                                               Paul B Lack e y
 90-5          02/24/2010        EXHIBIT(S)                     Ex hibit O                                                               Paul B Lack e y
 90-6          02/24/2010        EXHIBIT(S)                     Ex hibit P                                                               Paul B Lack e y
 90-7          02/24/2010        EXHIBIT(S)                     Ex hibit Q                                                               Paul B Lack e y
 90-8          02/24/2010        EXHIBIT(S)                     Ex hibit R                                                               Paul B Lack e y
 91            03/05/2010        Le tte r / C orre sponde nce   Le tte r from Gre gory A. Mark e l of C adwalade r to Justice            GR EGO R Y A
                                                                Frie d re garding March 8, 2010 te le phonic confe re nce                MAR KEL
 92            03/08/2010        Le tte r / C orre sponde nce   SO O R DER ED LETTER / C O R R ESPO NDENC E e nte re d in                C arol Ann
                                                                the office of the C ounty C le rk on March 08, 2010                      Boyce
                                                                                                                                         court use r
 93            03/12/2010        Le tte r / C orre sponde nce   Joint Le tte r from Gre gory A. Mark e l of C adwalade r to              GR EGO R Y A
                                                                Judge Frie d, C once rning Joint R e que st for Adjournm e nt            MAR KEL
                                                                of O rde rs to Show C ause Brie fing Sche dule

https://iapps.courts.state.ny.us/webcivil/FCASeFiledDocsDetail?county_code=mX_PLUS_funevHqkNtw6wbl9UCA%3D%3D&txtIndexNo=jITJZojBbCBCYjm%…                   5/27
2/1/2021   Case 19-34054-sgj11 Doc 1877-8 Filed 02/01/21
                                              WebCivil            Entered
                                                       Supreme - eFiled      02/01/21
                                                                        Documents Detail 18:22:33                                 Page 7 of 28
 94            03/12/2010        Signe d O rde r                SIGNED O R DER e nte re d in the office of the C ounty                  C lifford R e ig
                                                                C le rk on March 12, 2010 LETTER SO O R DER ED                          court use r
 95            03/15/2010        Le tte r / C orre sponde nce   Joint Le tte r from Gre ogry A. Mark e l of C adwalade r to             GR EGO R Y A
                                                                Judge Frie d R e garding O ne Day Ex te nsion for Filing of             MAR KEL
                                                                the Partie s' Tim e to File The ir R e spe ction Motions,
                                                                Pursuant to C PLR 3025(b), for Le ave to Am e nd the ir
                                                                Ple adings
 96            03/18/2010        PR O PO SED O R DER TO         Propose d O rde r to Show C ause R e que sting Le ave to          006   GR EGO R Y   A
                                 SHO W C AUSE                   Am e nd C om plaint                                                     MAR KEL
 97            03/17/2010        Affidavit or Affirm ation      Affidavit of Pam e la Be rgquist                                  006   GR EGO R Y   A
                                                                                                                                        MAR KEL
 97-1          03/17/2010        EXHIBIT(S)                     Ex hibits A F to Affidavit of Pam e la Be rgquist                 006   GR EGO R Y   A
                                                                                                                                        MAR KEL
 98            03/17/2010        Affidavit or Affirm ation      Affidavit of Jason Jurge ns                                       006   GR EGO R Y   A
                                                                                                                                        MAR KEL
 98-1          03/17/2010        Docum e nt De le te d
 98-2          03/17/2010        EXHIBIT(S)                     Ex hibits to Propose d First Am e nde d C om plaint               006   GR EGO R Y A
                                                                                                                                        MAR KEL
 98-3          03/17/2010        EXHIBIT(S)                     Ex hibits B FF to Affidavit of Jason Jurge ns                     006   GR EGO R Y A
                                                                                                                                        MAR KEL
 99            03/17/2010        Docum e nt De le te d
 100           03/17/2010        Affidavit or Affirm ation      Affidavit of Tim othy E. Le R oux                                 006   GR EGO R Y A
                                                                                                                                        MAR KEL
 101           03/17/2010        PR O PO SED O R DER TO         Propose d O rde r to Show C ause                                  007   KIER AN M
                                 SHO W C AUSE                                                                                           C O R C O R AN
 102           03/17/2010        Affidavit or Affirm ation      Affidavit of Philip Brane r                                       007   KIER AN M
                                                                                                                                        C O R C O R AN
 102-1         03/17/2010        EXHIBIT(S)                     Ex hibit A to Affidavit                                           007   KIER AN M
                                                                                                                                        C O R C O R AN
 102-2         03/17/2010        EXHIBIT(S)                     Ex hibit B to Affidavit                                           007   KIER AN M
                                                                                                                                        C O R C O R AN
 102-3         03/17/2010        EXHIBIT(S)                     Ex hibit C to Affidavit                                           007   KIER AN M
                                                                                                                                        C O R C O R AN
 102-4         03/17/2010        EXHIBIT(S)                     Ex hibit D to Affidavit                                           007   KIER AN M
                                                                                                                                        C O R C O R AN
 103           03/17/2010        Me m orandum O f Law In        Me m orandum of Law in Support of Fund De fe ndants'              007   KIER AN M
                                 Support                        Motion for Le ave to File Se cond Am e nde d Answe r and                C O R C O R AN
                                                                C ounte rclaim s
 104           03/17/2010        Me m orandum O f Law In        Me m orandum of Law in Support of Plaintiffs' Motion for          006   GR EGO R Y A
                                 Support                        Le ave to File the Propose d First Am e nde d C om plaint               MAR KEL
 105           03/18/2010        Attachm e nt to pre viously    Ex hibit A to Affidavit of Jason Jurge ns Propose d First         006   GR EGO R Y A
                                 file d docum e nt              Am e nde d C om plaint                                                  MAR KEL
 106           03/19/2010        O rde r to Show C ause         signe d osc, se q. # 007                                          007   Nancy A
                                                                                                                                        Horowitz
                                                                                                                                        court use r
 107           03/23/2010        Signe d De cision              SIGNED DEC ISIO N e nte re d in the office of the C ounty         004   Dawn
                                                                C le rk on March 23, 2010                                               C rawford
                                                                                                                                        court use r
 108           03/23/2010        Le tte r / C orre sponde nce   Le tte r from Gre gory A. Mark e l of C adwalade r to Judge             GR EGO R Y A
                                                                Frie d R e : C larification of Plaintiffs UBS' Position on its          MAR KEL
                                                                Motion to Dism iss the C ounte rclaim not be ing Moot
 109           03/23/2010        O rde r to Show C ause         signe d osc, se q. # 006                                          006   Nancy A
                                                                                                                                        Horowitz
                                                                                                                                        court use r
 110           03/26/2010        Le tte r / C orre sponde nce   Le tte r from Gre gory A. Mark e l of C adwalade r to Judge             GR EGO R Y A
                                                                Frie d R e garding a R e que st for an O rde r from the C ourt          MAR KEL
                                                                C om pe lling De fe ndants to Move Forward with Discove ry,
                                                                and to C om ply with The ir Discove ry O bligations
 110-1         03/26/2010        EXHIBIT(S)                     Ex hibits A E                                                           GR EGO R Y A
                                                                                                                                        MAR KEL
 111           04/05/2010        Le tte r / C orre sponde nce   Le tte r to Justice Frie d from Kie ran C orcoran, date d April         KIER AN M
                                                                5, 2010                                                                 C O R C O R AN
 111-1         04/05/2010        EXHIBIT(S)                     Ex hibit A to date d April 5, 2010                                      KIER AN M
                                                                                                                                        C O R C O R AN
 111-2         04/05/2010        EXHIBIT(S)                     Ex hibit B to date d April 5, 2010                                      KIER AN M
                                                                                                                                        C O R C O R AN
 111-3         04/05/2010        EXHIBIT(S)                     Ex hibit C to date d April 5, 2010                                      KIER AN M
                                                                                                                                        C O R C O R AN
 111-4         04/05/2010        EXHIBIT(S)                     Ex hibit D to date d April 5, 2010                                      KIER AN M
                                                                                                                                        C O R C O R AN
 111-5         04/05/2010        EXHIBIT(S)                     Ex hibit E to date d April 5, 2010                                      KIER AN M
                                                                                                                                        C O R C O R AN
 112           04/12/2010        Le tte r / C orre sponde nce   Le tte r from Gre gory A. Mark e l of C adwalade r to Judge             GR EGO R Y A
                                                                Frie d R e garding Plaintiff's R e sponse and O pposition to            MAR KEL
                                                                De fe ndant's Le tte r date d 4/5/10 se e k ing a C ross
                                                                Motion to Vacate this C ourt's 12/4/09 O rde r
 112-1         04/12/2010        EXHIBIT(S)                     Ex hibit A Fe bruary 26, 2010 Transcript                                GR EGO R Y A
                                                                                                                                        MAR KEL
 113           04/14/2010        MEMO R ANDUM O F LAW IN Fund De fe ndants' Me m orandum of Law in O pposition to 006                   KIER AN M
                                 O PPO SITIO N           Plaintiffs' Motion for Le ave to Am e nd                                       C O R C O R AN
 114           04/14/2010        MEMO R ANDUM O F LAW IN Highland C apital's Me m orandum of Law in O pposition   006                   KIER AN M
                                 O PPO SITIO N           to Plaintiffs' Motion for Le ave to Am e nd                                    C O R C O R AN

https://iapps.courts.state.ny.us/webcivil/FCASeFiledDocsDetail?county_code=mX_PLUS_funevHqkNtw6wbl9UCA%3D%3D&txtIndexNo=jITJZojBbCBCYjm%…                  6/27
2/1/2021   Case 19-34054-sgj11 Doc 1877-8 Filed 02/01/21
                                              WebCivil            Entered
                                                       Supreme - eFiled      02/01/21
                                                                        Documents Detail 18:22:33                             Page 8 of 28
 115           04/14/2010        Affidavit or Affirm ation      Affirm ation of Kie ran M C orcoran                           006     KIER AN M
                                                                                                                                      C O R C O R AN
 115-1         04/14/2010        EXHIBIT(S)                     C orcoran Aff Ex A                                            006     KIER AN M
                                                                                                                                      C O R C O R AN
 115-2         04/14/2010        EXHIBIT(S)                     C orcoran Aff Ex B                                            006     KIER AN M
                                                                                                                                      C O R C O R AN
 115-3         04/14/2010        EXHIBIT(S)                     C orcoran Aff Ex C                                            006     KIER AN M
                                                                                                                                      C O R C O R AN
 115-4         04/14/2010        EXHIBIT(S)                     C orcoran Aff Ex D                                            006     KIER AN M
                                                                                                                                      C O R C O R AN
 115-5         04/14/2010        EXHIBIT(S)                     C orcoran Aff Ex E                                            006     KIER AN M
                                                                                                                                      C O R C O R AN
 115-6         04/14/2010        EXHIBIT(S)                     C orcoran Aff Ex F                                            006     KIER AN M
                                                                                                                                      C O R C O R AN
 115-7         04/14/2010        EXHIBIT(S)                     C orcoran Aff Ex G                                            006     KIER AN M
                                                                                                                                      C O R C O R AN
 115-8         04/14/2010        EXHIBIT(S)                     C orcoran Aff Ex H                                            006     KIER AN M
                                                                                                                                      C O R C O R AN
 116           04/14/2010        Affidavit or Affirm ation      Affirm ation of Kie ran M C orcoran                           006     KIER AN M
                                                                                                                                      C O R C O R AN
 116-1         04/14/2010        EXHIBIT(S)                     C orcoran Aff Ex I                                            006     KIER AN M
                                                                                                                                      C O R C O R AN
 116-2         04/14/2010        EXHIBIT(S)                     C orcoran Aff Ex J                                            006     KIER AN M
                                                                                                                                      C O R C O R AN
 116-3         04/14/2010        EXHIBIT(S)                     C orcoran Aff Ex K                                            006     KIER AN M
                                                                                                                                      C O R C O R AN
 116-4         04/14/2010        EXHIBIT(S)                     C orcoran Aff Ex L                                            006     KIER AN M
                                                                                                                                      C O R C O R AN
 116-5         04/14/2010        EXHIBIT(S)                     C orcoran Aff Ex M                                            006     KIER AN M
                                                                                                                                      C O R C O R AN
 116-6         04/14/2010        EXHIBIT(S)                     C orcoran Aff Ex N                                            006     KIER AN M
                                                                                                                                      C O R C O R AN
 116-7         04/14/2010        EXHIBIT(S)                     C orcoran Aff Ex O                                            006     KIER AN M
                                                                                                                                      C O R C O R AN
 116-8         04/14/2010        EXHIBIT(S)                     C orcoran Aff Ex P                                            006     KIER AN M
                                                                                                                                      C O R C O R AN
 116-9         04/14/2010        EXHIBIT(S)                     C orcoran Aff Ex Q                                            006     KIER AN M
                                                                                                                                      C O R C O R AN
 117           04/14/2010        Affidavit or Affirm ation      Affidavit of Scott Ellington                                  006     KIER AN M
                                                                                                                                      C O R C O R AN
 117-1         04/14/2010        EXHIBIT(S)                     Ellington Aff Ex A                                            006     KIER AN M
                                                                                                                                      C O R C O R AN
 117-2         04/14/2010        EXHIBIT(S)                     Ellington Aff Ex B                                            006     KIER AN M
                                                                                                                                      C O R C O R AN
 117-3         04/14/2010        EXHIBIT(S)                     Ellington Aff Ex C                                            006     KIER AN M
                                                                                                                                      C O R C O R AN
 118           04/14/2010        MEMO R ANDUM O F LAW IN Me m orandum of Law in O pposition to the Fund                       007     GR EGO R Y A
                                 O PPO SITIO N             C ounte rpartie s' Motion for Le ave to File the Propose d                 MAR KEL
                                                           Se cond Am e nde d Answe r and C ounte rclaim s
 119           04/14/2010        Affidavit or Affirm ation Affidavit of Tim othy Le R oux                                     007     GR EGO R Y A
                                                                                                                                      MAR KEL
 120           04/14/2010        Affidavit or Affirm ation      Affidavit of Danie l Le vinson                                007     GR EGO R Y A
                                                                                                                                      MAR KEL
 120-1         04/14/2010        EXHIBIT(S)                     Ex hibit A to Affidavit of Danie l Le vinson                  007     GR EGO R Y A
                                                                                                                                      MAR KEL
 121           04/14/2010        Affidavit or Affirm ation      Affidavit of Joshua M. Be nne tt                              007     GR EGO R Y A
                                                                                                                                      MAR KEL
 121-1         04/14/2010        EXHIBIT(S)                     Ex hibits A J to Affidavit of Joshua M. Be nne tt             007     GR EGO R Y A
                                                                                                                                      MAR KEL
 122           04/16/2010        Signe d De cision              SIGNED DEC ISIO N e nte re d in the office of the C ounty             C lifford R e ig
                                                                C le rk on April 16, 2010                                             court use r
 123           04/26/2010        Le tte r / C orre sponde nce   Le tte r from Gre gory A. Mark e l to Judge Frie d re que sting 007   GR EGO R Y A
                                                                page lim it e x te nsion for UBS re ply m e m orandum in              MAR KEL
                                                                support of m otion for le ave to file propose d First
                                                                Am e nde d C om plaint
 124           04/27/2010        Le tte r / C orre sponde nce   Le tte r to Hon. Be rnard J. Frie d date d 4.27.10              006   KIER AN M
                                                                                                                                      C O R C O R AN
 125           04/27/2010        Signe d De cision              SIGNED DEC ISIO N e nte re d in the office of the C ounty             C lifford R e ig
                                                                C le rk on April 27, 2010                                             court use r
 126           04/28/2010        Me m orandum O f Law In        R e ply Me m orandum of Law in Support of the Fund            007     Paul B Lack e y
                                 R e ply                        De fe ndants' Motion for Le ave to File Se cond Am e nde d
                                                                Answe r and C ounte rclaim s
 127           04/28/2010        Affidavit or Affirm ation      Affidavit of Philip Brane r                                   007     Paul B Lack e y
 128           04/28/2010        Le tte r / C orre sponde nce   Le tte r From Gre gory A. Mark e l to Judge Frie d            006     GR EGO R Y A
                                                                                                                                      MAR KEL
 129           04/28/2010        Me m orandum O f Law In        R e ply Me m orandum of Law in Furthe r Support of Motion 006         GR EGO R Y A
                                 Support                        for Le ave to File the First Am e nde d C om plaint                   MAR KEL
 130           04/28/2010        Affidavit or Affirm ation      R e ply Affidavit of Jason Jurge ns                       006         GR EGO R Y A
                                                                                                                                      MAR KEL
 130-1         04/28/2010        EXHIBIT(S)                     Ex hibit A                                                    006     GR EGO R Y A
                                                                                                                                      MAR KEL
 130-2         04/28/2010        EXHIBIT(S)                     Ex hibit B                                                    006     GR EGO R Y A

https://iapps.courts.state.ny.us/webcivil/FCASeFiledDocsDetail?county_code=mX_PLUS_funevHqkNtw6wbl9UCA%3D%3D&txtIndexNo=jITJZojBbCBCYjm%…                7/27
2/1/2021   Case 19-34054-sgj11 Doc 1877-8 Filed 02/01/21
                                              WebCivil            Entered
                                                       Supreme - eFiled      02/01/21
                                                                        Documents Detail 18:22:33                                  Page 9 of 28
                                                                                                                                         MAR KEL
 130-3         04/28/2010        EXHIBIT(S)                     Ex hibit C                                                         006   GR EGO R Y A
                                                                                                                                         MAR KEL
 130-4         04/28/2010        EXHIBIT(S)                     Ex hibit D                                                         006   GR EGO R Y A
                                                                                                                                         MAR KEL
 130-5         04/28/2010        EXHIBIT(S)                     Ex hibit E                                                         006   GR EGO R Y A
                                                                                                                                         MAR KEL
 131           04/30/2010        Notice of Entry                Notice of Entry of O rde r date d April 15, 2010                         Paul B Lack e y
 132           05/03/2010        R e m ittitur                  R EMITTITUR e nte re d in the office of the C ounty C le rk              Erlon Hodge
                                                                on Mar 09, 2010                                                          court use r
 133           05/04/2010        Le tte r / C orre sponde nce   C ove r Le tte r from Gre gory A. Mark e l of C adwalade r to      006   GR EGO R Y A
                                                                Judge Frie d R e garding Supple m e ntal R e ply                         MAR KEL
                                                                Me m orandum of Law
 134           05/04/2010        Me m orandum O f Law In        UBS's Supple m e ntal Me m orandum of Law in R e ply to            006   GR EGO R Y A
                                 R e ply                        the Highland Partie s' Argum e nts C once rning UBS's                    MAR KEL
                                                                C laim s Against the Ne w De fe ndants
 135           05/04/2010        Affidavit or Affirm ation      Supple m e ntal R e ply Affidavit of Jason Jurge ns                006   GR EGO R Y A
                                                                                                                                         MAR KEL
 135-1         05/04/2010        EXHIBIT(S)                     EXHIBIT A to Supple m e ntal R e ply Affidavit of Jason                  GR EGO R Y A
                                                                Jurge ns                                                                 MAR KEL
 135-2         05/04/2010        EXHIBIT(S)                     EXHIBIT B to Supple m e ntal R e ply Affidavit of Jason                  GR EGO R Y A
                                                                Jurge ns                                                                 MAR KEL
 136           05/04/2010        Affidavit or Affirm ation      Affidavit of Frase r Hughe s                                       006   GR EGO R Y A
                                                                                                                                         MAR KEL
 137           05/11/2010        Le tte r / C orre sponde nce   Le tte r from Gre gory A. Mark e l of C adwalade r to Judge        006   GR EGO R Y A
                                                                Frie d R e garding O 'Brie n v. C ity of Syracuse .                      MAR KEL
 138           05/11/2010        Le tte r / C orre sponde nce   K. C orcoran le tte r to Justice Frie d, date d May 11, 2010       006   KIER AN M
                                                                                                                                         C O R C O R AN
 139           05/12/2010        Le tte r / C orre sponde nce   Le tte r from Gre gory A. Mark e l of C adwalade r to Justice      006   GR EGO R Y A
                                                                Frie d re : R ule 18 and R e s Judicata                                  MAR KEL
 140           05/12/2010        Le tte r / C orre sponde nce   Le tte r from Gre gory A. Mark e l of C adwalade r to Justice            GR EGO R Y A
                                                                Frie d re garding Discove ry                                             MAR KEL
 141           05/12/2010        Le tte r / C orre sponde nce   K. C orcoran le tte r to Justice Frie d, date d May 12, 2010       006   KIER AN M
                                                                                                                                         C O R C O R AN
 142           05/14/2010        Le tte r / C orre sponde nce   K. C orcoran le tte r to Justice Frie d, date d May 14, 2010             KIER AN M
                                                                                                                                         C O R C O R AN
 143           06/21/2010        Signe d O rde r                SIGNED O R DER e nte re d in the office of the C ounty             007   Dawn
                                                                C le rk on June 21, 2010                                                 C rawford
                                                                                                                                         court use r
 144           06/21/2010        Signe d O rde r                SIGNED O R DER e nte re d in the office of the C ounty             006   C hristine
                                                                C le rk on June 21, 2010                                                 C e rabone
                                                                                                                                         court use r
 145           06/28/2010        NO TIC E O F ENTR Y            Notice of Entry Motion Se que nce (006)                            006   GR EGO R Y A
                                                                                                                                         MAR KEL
 146           06/28/2010        NO TIC E O F ENTR Y            Notice of Entry Motion Se q (007)                                  007   GR EGO R Y A
                                                                                                                                         MAR KEL
 147           06/28/2010        SUMMO NS (PR E R JI)           Am e nde d Sum m ons                                                     GR EGO R Y A
                                 (AMENDED)                                                                                               MAR KEL
 148           06/28/2010        C O MPLAINT (AMENDED)          First Am e nde d C om plaint                                             GR EGO R Y A
                                                                                                                                         MAR KEL
 148-1         06/28/2010        EXHIBIT(S)                     Ex hibit A                                                               GR EGO R Y A
                                                                                                                                         MAR KEL
 148-2         06/28/2010        EXHIBIT(S)                     Ex hibit B                                                               GR EGO R Y A
                                                                                                                                         MAR KEL
 148-3         06/28/2010        EXHIBIT(S)                     Ex hibit C                                                               GR EGO R Y A
                                                                                                                                         MAR KEL
 148-4         06/28/2010        EXHIBIT(S)                     Ex hibit D                                                               GR EGO R Y A
                                                                                                                                         MAR KEL
 148-5         06/28/2010        EXHIBIT(S)                     Ex hibit E                                                               GR EGO R Y A
                                                                                                                                         MAR KEL
 148-6         06/28/2010        EXHIBIT(S)                     Ex hibit F                                                               GR EGO R Y A
                                                                                                                                         MAR KEL
 148-7         06/28/2010        EXHIBIT(S)                     Ex hibit G                                                               GR EGO R Y A
                                                                                                                                         MAR KEL
 148-8         06/28/2010        EXHIBIT(S)                     Ex hibit H                                                               GR EGO R Y A
                                                                                                                                         MAR KEL
 148-9         06/28/2010        EXHIBIT(S)                     Ex hibit I                                                               GR EGO R Y A
                                                                                                                                         MAR KEL
 149           06/30/2010        LETTER /                       Le tte r to Hon. Be rnard J. Frie d                                006   KIER AN M
                                 C O R R ESPO NDENC E TO                                                                                 C O R C O R AN
                                 JUDGE
 150           07/02/2010        LETTER /                       Le tte r from Gre gory A. Mark e l of C adwalade r to Justice            GR EGO R Y A
                                 C O R R ESPO NDENC E TO        Frie d in R e sponse to June 30, 2010 Le tte r from                      MAR KEL
                                 JUDGE                          C ounse l for Fund C ounte rpartie s
 151           07/08/2010        LETTER /                       Le tte r from Gre gory A. Mark e l of C adwalade r to Judge              GR EGO R Y A
                                 C O R R ESPO NDENC E TO        Frie d R e : UBS Plaintiffs' R e que st for Pe rm ission to File         MAR KEL
                                 JUDGE                          Motion Pursuant to C PLR Se ction 602(a)
 151-1         07/08/2010        EXHIBIT(S)                     [Propose d] Me m orandum of Law                                          GR EGO R Y A
                                                                                                                                         MAR KEL
 151-2         07/08/2010        EXHIBIT(S)                     [Propose d] Affidavit of Gre gory A. Mark e t                            GR EGO R Y A
                                                                                                                                         MAR KEL
 152           07/13/2010        AFFIR MATIO N/AFFIDAVIT        Affidavit of Se rvice , R e : Le tte r Date d 7/8/10 from                GR EGO R Y A

https://iapps.courts.state.ny.us/webcivil/FCASeFiledDocsDetail?county_code=mX_PLUS_funevHqkNtw6wbl9UCA%3D%3D&txtIndexNo=jITJZojBbCBCYjm%…                 8/27
2/1/2021   Case 19-34054-sgj11 Doc 1877-8 Filed  02/01/21
                                             WebCivil              Entered
                                                      Supreme - eFiled        02/01/21
                                                                       Documents Detail    18:22:33                         Page 10 of
                          O F SER VIC E                 28
                                              Gre gory A. Mark e l of C adwalade r to Judge Frie d, W ith                         MAR KEL
                                                              Ex hibits A and B
 153           07/13/2010        NO TIC E O F MO TIO N        UBS Partie s Motion to C onsolidate Actions                   008   GR EGO R Y A
                                                                                                                                  MAR KEL
 154           07/13/2010        MEMO R ANDUM O F LAW IN      Me m orandum of Law in Support of UBS's Motion to             008   GR EGO R Y A
                                 SUPPO R T                    C onsolidate Actions                                                MAR KEL
 155           07/13/2010        AFFIDAVIT O R                Affidavit of Gre gory A. Mark e l in Support of UBS's         008   GR EGO R Y A
                                 AFFIR MATIO N IN SUPPO R T   Motion to C onsolidate Actions                                      MAR KEL
                                 O F MO TIO N
 155-1         07/13/2010        EXHIBIT(S)                   [R EDAC TED] Ex hibits A E of Affidavit of Gre gory A.        008   GR EGO R Y A
                                                              Mark e l in Support of Motion to C onsolidate Actions               MAR KEL
 156           07/14/2010        NO TIC E O F APPEAR ANC E    Notice of Appe arance of Danie l B. Te hrani                        DANIEL B
                                 (PO ST R JI)                                                                                     TEHR ANI
 157           07/14/2010        NO TIC E O F APPEAR ANC E    Notice of Appe arance of Andre w W e issm ann                       DANIEL B
                                 (PO ST R JI)                                                                                     TEHR ANI
 158           07/14/2010        AFFIR MATIO N/AFFIDAVIT      C e rtificate of Se rvice                                           DANIEL B
                                 O F SER VIC E                                                                                    TEHR ANI
 159           07/19/2010        NO TIC E O F MO TIO N      C DO Fund and SO HC 's Notice of Motion to Dism iss the         009   KIER AN M
                                                            First Am e nde d C om plaint                                          C O R C O R AN
 160           07/19/2010        AFFIDAVIT O R              Affirm ation of K. C orcoran in Support of C DO Fund and        009   KIER AN M
                                 AFFIR MATIO N IN SUPPO R T SO HC 's Motion to Dism iss the First Am e nde d                      C O R C O R AN
                                 O F MO TIO N               C om plaint
 160-1         07/19/2010        EXHIBIT(S)                 Ex hibit 1 to Affirm ation of K. C orcoran Transcript of        009   KIER AN M
                                                            Proce e dings of 2010.05.07                                           C O R C O R AN
 161           07/19/2010        ANSW ER                    C DO Fund and SO HC 's Answe r to the First Am e nde d                KIER AN M
                                                            C om plaint                                                           C O R C O R AN
 162           07/22/2010        MEMO R ANDUM O F LAW IN Me m orandum of Law in O pposition to UBS's Motion to              008   KIER AN M
                                 O PPO SITIO N              C onsolidate Actions                                                  C O R C O R AN
 163           07/23/2010        NO TIC E O F APPEAL        C DO Fund and SO HC 's Notice of Appe al of O rde r Date d            KIER AN M
                                                            June 17, 2010                                                         C O R C O R AN
 164           07/23/2010        PR E-AR GUMENT             C DO Fund and SO HC 's Pre Argum e nt State m e nt                    KIER AN M
                                 STATEMENT                                                                                        C O R C O R AN
 165           07/23/2010        NO TIC E O F APPEAL        Highland C apital's Notice of Appe al of O rde r Date d               KIER AN M
                                                            June 17, 2010                                                         C O R C O R AN
 166           07/23/2010        PR E-AR GUMENT             Highland C apital's Pre Argum e nt State m e nt                       KIER AN M
                                 STATEMENT                                                                                        C O R C O R AN
 167           07/28/2010        LETTER /                   Le tte r from Gre gory Mark e l to Judge Frie d Ide ntifying          GR EGO R Y A
                                 C O R R ESPO NDENC E TO    Discove ry Matte rs we Propose the C ourt Addre ss at July            MAR KEL
                                 JUDGE                      29, 2010 C onfe re nce
 167-1         07/28/2010        EXHIBIT(S)                 Ex hibits A G                                                         GR EGO R Y A
                                                                                                                                  MAR KEL
 167-2         07/28/2010        EXHIBIT(S)                   Ex hibits H M                                                       GR EGO R Y A
                                                                                                                                  MAR KEL
 168           07/28/2010        MEMO R ANDUM O F LAW IN UBS'S R EPLY MEMO R ANDUM O F LAW IN FUR THER                      008   GR EGO R Y A
                                 R EPLY                     SUPPO R T O F ITS MO TIO N TO C O NSO LIDATE AC TIO NS                MAR KEL
 169           07/28/2010        NO TIC E O F MO TIO N      Highland Financial, Strand and C re dit O pportunitie s'        010   KIER AN M
                                                            Notice of Motion to Dism iss the First Am e nde d                     C O R C O R AN
                                                            C om plaint
 170           07/28/2010        MEMO R ANDUM O F LAW IN Me m orandum of Law in Support of Highland Financial,              010   KIER AN M
                                 SUPPO R T                  Strand and C re dit O pportunitie s' Motion to Dism iss the           C O R C O R AN
                                                            First Am e nde d C om plaint
 171           07/28/2010        AFFIDAVIT O R              Affirm ation of K. C orcoran in Support of Highland             010   KIER AN M
                                 AFFIR MATIO N IN SUPPO R T Financial, Strand and C re dit O pportunitie s' Motion to             C O R C O R AN
                                 O F MO TIO N               Dism iss the First Am e nde d C om plaint
 171-1         07/28/2010        EXHIBIT(S)                 Ex hibit 1 to Affirm ation of K. C orcoran Affidavit of         010   KIER AN M
                                                            Frase r Hughe s                                                       C O R C O R AN
 171-2         07/28/2010        EXHIBIT(S)                 Ex hibit 2 to Affirm ation of K. C orcoran Highland             010   KIER AN M
                                                            C apital's Me m orandum of Law of 2010.04.14                          C O R C O R AN
 171-3         07/28/2010        EXHIBIT(S)                 Ex hibit 3 to Affirm ation of K. C orcoran Affirm ation of K.   010   KIER AN M
                                                            C orcoran of 2010.04.14                                               C O R C O R AN
 171-4         07/28/2010        EXHIBIT(S)                 Ex hibits 3(A) (D) to Affirm ation of K. C orcoran Ex hibits    010   KIER AN M
                                                            (A) (D) to Affirm ation of K. C orcoran of 2010.04.14                 C O R C O R AN
 171-5         07/28/2010        EXHIBIT(S)                 Ex hibits 3(E) (Q ) to Affirm ation of K. C orcoran Ex hibits   010   KIER AN M
                                                            (E) (Q ) to Affirm ation of K. C orcoran of 2010.04.14                C O R C O R AN
 171-6         07/28/2010        EXHIBIT(S)                 Ex hibit 4 to Affirm ation of K. C orcoran Hashe m              010   KIER AN M
                                                            O pinion                                                              C O R C O R AN
 172           07/28/2010        LETTER /                   Le tte r from Kie ran M. C orcoran to Hon. Be rnard J. Frie d         KIER AN M
                                 C O R R ESPO NDENC E TO    date d July 28, 2010                                                  C O R C O R AN
                                 JUDGE
 173           07/28/2010        AFFIDAVIT O R              Affidavit of Gre gory A. Mark e l in O pposition to Motion      009   GR EGO R Y A
                                 AFFIR MATIO N IN           to Dism iss the C om plaint                                           MAR KEL
                                 O PPO SITIO N TO MO TIO N
 173-1         07/28/2010        Docum e nt De le te d
 173-2         07/28/2010        Docum e nt De le te d
 173-3         07/28/2010        Docum e nt De le te d
 173-4         07/28/2010        Docum e nt De le te d
 174           07/29/2010        LETTER /                   Le tte r from Gre gory A. Mark e l of C adwalade r to Judge     009   GR EGO R Y A
                                 C O R R ESPO NDENC E TO    Frie d R e :UBS Plaintiffs' Filing of O pposition to                  MAR KEL
                                 JUDGE                      De fe ndant Highland C DO O pportunity Maste r Fund, L.P.
                                                            and Highland Spe cial O pportunitie s Holding
                                                            C om panie s' Motion to Dism iss the First Am e nde d
                                                            C om plaint

https://iapps.courts.state.ny.us/webcivil/FCASeFiledDocsDetail?county_code=mX_PLUS_funevHqkNtw6wbl9UCA%3D%3D&txtIndexNo=jITJZojBbCBCYjm%…          9/27
2/1/2021   Case 19-34054-sgj11 Doc 1877-8 Filed           02/01/21
                                                      WebCivil             Entered
                                                               Supreme - eFiled        02/01/21
                                                                                Documents  Detail    18:22:33                 Page 11 of
 175          08/02/2010                                         28
                          NO TIC E O F C R O SS APPEAL Notice of C ross Appe al of O rde r date d June 17, 2010               006   GR EGO R Y   A
                                                                                                                                    MAR KEL
 176           08/02/2010        PR E-AR GUMENT               C ivil Pre Agrum e nt State m e nt                              006   GR EGO R Y   A
                                 STATEMENT                                                                                          MAR KEL
 176-1         08/02/2010        EXHIBIT(S)                   O rde r date d June 17, 2010                                    006   GR EGO R Y   A
                                                                                                                                    MAR KEL
 177           08/06/2010        LETTER /                     Le tte r From Gre gory A. Mark e l to Judge Frie d R e garding        GR EGO R Y   A
                                 C O R R ESPO NDENC E TO      Stipulation and Propose d O rde r for Appointm e nt of                MAR KEL
                                 JUDGE                        Spe cial Maste r
 178           08/06/2010        O R DER ( PR O PO SED )      Stipulation and [Propose d] O rde r for Appointm e nt of              GR EGO R Y A
                                                              Spe cial Maste r                                                      MAR KEL
 179           08/09/2010        DEC ISIO N + O R DER O N     MO TIO N e nte re d in the office of the C ounty C le rk on    009    C lifford R e ig
                                 MO TIO N                     August 09, 2010                                                       court use r
 180           08/12/2010        STIPULATIO N - SO            SO O R DER ED STIPULATIO N e nte re d in the office of the            Erlon Hodge
                                 O R DER ED                   C ounty C le rk on August 12, 2010                                    court use r
 181           08/13/2010        NO TIC E O F ENTR Y          Notice of Entry (Motion Se que nce 009)                        009    KIER AN M
                                                                                                                                    C O R C O R AN
 182           08/13/2010        NO TIC E O F APPEAL          Funds' Notice of Appe al                                        009   KIER AN M
                                                                                                                                    C O R C O R AN
 183           08/13/2010        PR E-AR GUMENT               Funds' Pre Argum e nt State m e nt                              009   KIER AN M
                                 STATEMENT                                                                                          C O R C O R AN
 184           08/13/2010        AFFIR MATIO N/AFFIDAVIT      Affidavit of Se rvice of (a) Am e nde d Sum m ons, First              JASO N
                                 O F SER VIC E                Am e nde d R e dacte d C om plaint and R e dacte d Ex hibits          JUR GENS
                                                              and (b) Am e nde d Sum m ons, First Am e nde d
                                                              Unre dacte d C om plaint and Unre dacte d Ex hibits upon
                                                              Highland C apital Manage m e nt, L.P., Highland C DO
                                                              O pportunity Maste r
 185           08/13/2010        AFFIR MATIO N/AFFIDAVIT Affidavit of Se rvice of Am e nde d Sum m ons, First                       JASO N
                                 O F SER VIC E                Am e nde d Unre dacte d C om plaint and Unre dacte d                  JUR GENS
                                                              Ex hibits upon Highland Financial Partne rs, L.P.,
                                                              Highland C re dit O pportunitie s C DO , L.P., Strand
                                                              Advisors, Inc.
 186           08/13/2010        AFFIR MATIO N/AFFIDAVIT Affidavit of Se rvice of Am e nde d Sum m ons and First                    JASO N
                                 O F SER VIC E                Am e nde d C om plaint [R e dacte d] upon Highland C re dit           JUR GENS
                                                              Strate gie s Fund
 187           08/13/2010        AFFIR MATIO N/AFFIDAVIT Affidavit of Se rvice of Am e nde d Sum m ons and First                    JASO N
                                 O F SER VIC E                R e dacte d C om plaint upon Highland C rusade r O ffshore            JUR GENS
                                                              Fund, L.P.
 188           08/27/2010        STIPULATIO N - O THER - ( Stipulation Adjourning De fe ndant Highland C re dit                     ANDR EW
                                 R EQ UEST TO SO O R DER ) Strate gie s Fund's Tim e to Answe r, Move or O the rwise                W EISSMANN
                                                              R e spond to Sum m ons and First Am e nde d C om plaint to
                                                              Se pte m be r 3, 2010
 189           09/01/2010        STIPULATIO N - O THER - ( Stipulation and Propose d O rde r                                        ANDR EW
                                 R EQ UEST TO SO O R DER )                                                                          W EISSMANN
 190           09/10/2010        LETTER /C O R R ESPO NDENC E SO O R DER ED LETTER /C O R R ESPO NDENC E e nte re d in the          Matthe w
                                 - SO O R DER ED              office of the C ounty C le rk on Se pte m be r 10, 2010               Koe nig
                                                                                                                                    court use r
 191           09/10/2010        STIPULATIO N - O THER - ( Stipulation and Propose d O rde r                                        ANDR EW
                                 R EQ UEST TO SO O R DER )                                                                          W EISSMANN
 192           09/13/2010        NO TIC E O F C R O SS APPEAL Notice of C ross Appe al From O rde r Date d August 5,          009   GR EGO R Y A
                                                              2010                                                                  MAR KEL
 193           09/13/2010        PR E-AR GUMENT               C ross Appe al Pre argum e nt State m e nt                      009   GR EGO R Y A
                                 STATEMENT                                                                                          MAR KEL
 194           09/17/2010        AFFIDAVIT O R                "[R e dacte d] Ex hibit 1 and Ex hibit 2 Part 1 to Affidavit    010   GR EGO R Y A
                                 AFFIR MATIO N IN             of Gre gory A. Mark e l in O pposition to Motion to Dism iss          MAR KEL
                                 O PPO SITIO N TO MO TIO N the C om plaint, date d July 28, 2010 (re dacte d ve rsion
                                                              of Docum e nt No. 173 1)"
 194-1         09/17/2010        EXHIBIT(S)                   "[R e dacte d] Ex hibit 2 Part 2 to Affidavit of Gre gory A.    010   GR EGO R Y A
                                                              Mark e l in O pposition to Motion to Dism iss the                     MAR KEL
                                                              C om plaint, date d July 28, 2010 (re dacte d ve rsion of
                                                              Docum e nt No. 173 2)"
 194-2         09/17/2010        EXHIBIT(S)                   "[R e dacte d] Ex hibit 2 Part 3 to Affidavit of Gre gory A.    010   GR EGO R Y A
                                                              Mark e l in O pposition to Motion to Dism iss the                     MAR KEL
                                                              C om plaint, date d July 28, 2010 (re dacte d ve rsion of
                                                              Docum e nt No. 173 3 )"
 194-3         09/17/2010        EXHIBIT(S)                   "[R e dacte d] Ex hibits 3 10 to Affidavit of Gre gory A.       010   GR EGO R Y A
                                                              Mark e l in O pposition to Motion to Dism iss the                     MAR KEL
                                                              C om plaint, date d July 28, 2010 (re dacte d ve rsion of
                                                              Docum e nt No. 173 4)"
 195           09/21/2010        STIPULATIO N - SO            SO O R DER ED STIPULATIO N e nte re d in the office of the            Erlon Hodge
                                 O R DER ED                   C ounty C le rk on Se pte m be r 21, 2010                             court use r
 196           09/21/2010        LETTER /                     Le tte r From Gre gory A. Mark e l of C adwalade r to Justice   010   GR EGO R Y A
                                 C O R R ESPO NDENC E TO      Frie d R e que sting Ex te nsion of Page Lim itation on               MAR KEL
                                 JUDGE                        Me m orandum of Law in Support of R e sponse to Motion
                                                              to Dism iss First Am e nde d C om plaint
 197           09/22/2010        STIPULATIO N - O THER - ( Stipulation and Propose d O rde r                                        ANDR EW
                                 R EQ UEST TO SO O R DER )                                                                          W EISSMANN
 198           09/22/2010        LETTER /                     Le tte r From Gre gory A. Mark e l of C adwalade r to Justice         GR EGO R Y A
                                 C O R R ESPO NDENC E TO      Frie d Enclosing R e vise d Propose d Sche duling and C ase           MAR KEL
                                 JUDGE                        Manage m e nt O rde r
 198-1         09/22/2010        EXHIBIT(S)                   Propose d Sche duling O rde r                                         GR EGO R Y A
                                                                                                                                    MAR KEL
 199           09/23/2010        LETTER /C O R R ESPO NDENC E SO O R DER ED LETTER /C O R R ESPO NDENC E e nte re d in the          Matthe w

https://iapps.courts.state.ny.us/webcivil/FCASeFiledDocsDetail?county_code=mX_PLUS_funevHqkNtw6wbl9UCA%3D%3D&txtIndexNo=jITJZojBbCBCYjm…             10/27
2/1/2021   Case 19-34054-sgj11 Doc 1877-8 Filed   02/01/21
                                             WebCivil             Entered
                                                      Supreme - eFiled         02/01/21
                                                                       Documents  Detail      18:22:33                       Page 12 of
                          - SO O R DER ED               28
                                              office of the C ounty C le rk on Se pte m be r 23, 2010                              Koe nig
                                                                                                                                   court use r
 200           09/24/2010        NO TIC E O F MO TIO N        Notice of Motion on C onse nt to Adm it C ounse l Pro Hac      011   KIER AN M
                                                              Vice                                                                 C O R C O R AN
 201           09/24/2010        AFFIDAVIT O R                Affirm ation in Support of Motion to Adm it C ounse l          011   KIER AN M
                                 AFFIR MATIO N IN SUPPO R T                                                                        C O R C O R AN
                                 O F MO TIO N
 202           09/24/2010        AFFIDAVIT O R              Affidavit in Support of Motion to Adm it C ounse l               011   KIER AN M
                                 AFFIR MATIO N IN SUPPO R T                                                                        C O R C O R AN
                                 O F MO TIO N
 203           09/24/2010        MEMO R ANDUM O F LAW IN UBS's Me m orandum O f Law In O pposition To The                    010   GR EGO R Y A
                                 O PPO SITIO N              Highland Entitie s' Motion To Dism iss The First Am e nde d            MAR KEL
                                                            C om plaint [R e dacte d]
 204           09/24/2010        AFFIDAVIT O R              Affidavit of Jason Jurge ns in O pposition to the Highland       010   GR EGO R Y A
                                 AFFIR MATIO N IN           Entitie s' Motion to Dism iss the First Am e nde d                     MAR KEL
                                 O PPO SITIO N TO MO TIO N C om plaint
 204-1         09/24/2010        EXHIBIT(S)                 A [R e dacte d]                                                  010   GR EGO R Y   A
                                                                                                                                   MAR KEL
 204-2         09/24/2010        EXHIBIT(S)                   B [R e dacte d]                                                010   GR EGO R Y   A
                                                                                                                                   MAR KEL
 204-3         09/24/2010        EXHIBIT(S)                   C                                                              010   GR EGO R Y   A
                                                                                                                                   MAR KEL
 204-4         09/24/2010        EXHIBIT(S)                   D                                                              010   GR EGO R Y   A
                                                                                                                                   MAR KEL
 204-5         09/24/2010        EXHIBIT(S)                   E                                                              010   GR EGO R Y   A
                                                                                                                                   MAR KEL
 204-6         09/24/2010        EXHIBIT(S)                   F                                                              010   GR EGO R Y   A
                                                                                                                                   MAR KEL
 204-7         09/24/2010        EXHIBIT(S)                   G                                                              010   GR EGO R Y   A
                                                                                                                                   MAR KEL
 204-8         09/24/2010        EXHIBIT(S)                   H to Y [R e dacte d]                                           010   GR EGO R Y   A
                                                                                                                                   MAR KEL
 205           09/24/2010        AFFIDAVIT O R                Affidavit of Frase r Hughe s In O pposition to the          010      GR EGO R Y   A
                                 AFFIR MATIO N IN             Highland Entitie s' Motion to Dism iss the First Am e nde d          MAR KEL
                                 O PPO SITIO N TO MO TIO N    C om plaint
 206           09/27/2010        Signe d O rde r              C ASE SC HEDULING O R DER e nte re d in the office of the            Darne ll A.
                                                              C ounty C le rk on Se pte m be r 27, 2010                            McIntosh
                                                                                                                                   court use r
 207           09/27/2010        STIPULATIO N - SO            SO O R DER ED STIPULATIO N e nte re d in the office of the           C lifford R e ig
                                 O R DER ED                   C ounty C le rk on Se pte m be r 27, 2010                            court use r
 208           10/06/2010        LETTER /                     Le tte r From Gre gory A. Mark e l of C adwalade r to Justice 010    GR EGO R Y A
                                 C O R R ESPO NDENC E TO      Frie d R e que sting C hange of Tim e of O ral Argum e nt on         MAR KEL
                                 JUDGE                        Motion to Dism iss on O ctobe r 19, 2010
 209           10/07/2010        DEC ISIO N + O R DER O N     MO TIO N e nte re d in the office of the C ounty C le rk on   011    Elle n C hin
                                 MO TIO N                     O ctobe r 07, 2010                                                   court use r
 210           10/08/2010        STIPULATIO N - SO            SO O R DER ED STIPULATIO N e nte re d in the office of the           C lifford R e ig
                                 O R DER ED                   C ounty C le rk on O ctobe r 08, 2010                                court use r
 211           10/08/2010        STIPULATIO N - PAR TIAL      Notice of Discontinuance of Action as to De fe ndant                 GR EGO R Y A
                                 DISC O NTINUANC E (PO ST     Highland C re dit Strate gie s Fund                                  MAR KEL
                                 R JI)
 212           10/12/2010        MEMO R ANDUM O F LAW IN      R e ply Me m orandum of Law in Support of Highland             010   KIER AN M
                                 R EPLY                       Financial, Strand and C re dit O pportunitie s' Motion to            C O R C O R AN
                                                              Dism iss the First Am e nde d C om plaint
 213           11/04/2010        DEC ISIO N + O R DER O N     MO TIO N e nte re d in the office of the C ounty C le rk on    008   Dawn
                                 MO TIO N                     Nove m be r 04, 2010                                                 C rawford
                                                                                                                                   court use r
 214           11/04/2010        NO TIC E O F ENTR Y          Notice of Entry of O rde r of Judge Frie d Signe d 11/1/10           GR EGO R Y A
                                                              and Ente re d on 11/4/10                                             MAR KEL
 215           02/07/2011        NO TIC E O F APPEAR ANC E    Notice of Appe arance of Schindle r C ohe n & Hochm an               EMILY
                                 (PO ST R JI)                 LLP                                                                  ALEXANDR A
                                                                                                                                   PO LER
 216           03/02/2011        TR ANSC R IPT O F            TR ANSC R IPT O F PR O C EEDINGS e nte re d in the office of         Matthe w
                                 PR O C EEDINGS               the C ounty C le rk on March 02, 2011                                Koe nig
                                                                                                                                   court use r
 217           03/03/2011        DEC ISIO N + O R DER O N     re : m otion no. 010, DEC ISIO N + O R DER O N MO TIO N        010   Dawn
                                 MO TIO N                     e nte re d in the office of the C ounty C le rk on March 03,         C rawford
                                                              2011                                                                 court use r
 218           03/03/2011        NO TIC E O F ENTR Y          Notice of Entry                                                      GR EGO R Y A
                                                                                                                                   MAR KEL
 219           03/14/2011        LETTER /                     Le tte r to Hon. Justice Frie d date d 3.14.11 confirm ing           KIER AN M
                                 C O R R ESPO NDENC E TO      re sche duling of confe re nce                                       C O R C O R AN
                                 JUDGE
 220           03/21/2011        ANSW ER                      Answe r of Highland Financial Partne rs, L.P., Highland              KIER AN M
                                                              C re dit O pportunitie s C DO , L.P., Highland C rusade r            C O R C O R AN
                                                              O ffshore Partne rs, L.P. and Strand Advisors, Inc. to
                                                              First Am e nde d C om plaint
 221           03/22/2011        LETTER /C O R R ESPO NDENC E re : app no. 016, SO O R DER ED                                      Darne ll A.
                                 - SO O R DER ED              LETTER /C O R R ESPO NDENC E e nte re d in the office of the         McIntosh
                                                              C ounty C le rk on March 22, 2011                                    court use r
 222           03/22/2011        NO TIC E O F MO TIO N        Notice of Motion for the Issuance of a C om m ission           012   EMILY
 PENDING                                                                                                                           ALEXANDR A
                                                                                                                                   PO LER
 223           03/22/2011        AFFIR MATIO N                Affirm ation of Em ily A. Pole r                               012   EMILY
https://iapps.courts.state.ny.us/webcivil/FCASeFiledDocsDetail?county_code=mX_PLUS_funevHqkNtw6wbl9UCA%3D%3D&txtIndexNo=jITJZojBbCBCYjm%…           11/27
2/1/2021   Case 19-34054-sgj11 Doc 1877-8 Filed 02/01/21
                                             WebCivil             Entered
                                                      Supreme - eFiled       02/01/21
                                                                       Documents Detail 18:22:33                              Page 13 of
                                                        28                                                                          ALEXANDR A
                                                                                                                                    PO LER
 224          03/22/2011         C O MMISSIO N               C om m ission to Tak e De position and for the Production 012          EMILY
                                 (PR O PO SED)               of Docum e nts                                                         ALEXANDR A
                                                                                                                                    PO LER
 225          03/22/2011         O R DER ( PR O PO SED )   Propose d O rde r Dire cting the Issuance of C om m ission 012           EMILY
                                                           To Tak e De position and for the Production of                           ALEXANDR A
                                                           Docum e nts                                                              PO LER
 226          03/28/2011         AFFIDAVIT O R             Affidavit of Ke vin P R obinowitz in O pposition to            012       KIER AN M
                                 AFFIR MATIO N IN          Plaintiffs' Motion for the Issuance of a C om m ission for               C O R C O R AN
                                 O PPO SITIO N TO MO TIO N the Production of Docum e nts by and De position of
                                                           Ke vin Dillon
 227          03/30/2011         O R DER - O THER          O THER O R DER e nte re d in the office of the C ounty C le rk           Matthe w
                                                           on March 30, 2011                                                        Koe nig
                                                                                                                                    court use r
 228          03/30/2011         O R DER - O THER            O THER O R DER e nte re d in the office of the C ounty C le rk         Matthe w
                                                             on March 30, 2011                                                      Koe nig
                                                                                                                                    court use r
 229          04/01/2011         NO TIC E O F APPEAL         Notice of Appe al of O rde r date d March 1, 2011                      KIER AN M
 PENDING                                                                                                                            C O R C O R AN
 230          04/01/2011         PR E-AR GUMENT             Pre -Argum e nt State m e nt                                            KIER AN M
                                 STATEMENT                                                                                          C O R C O R AN
 231          04/06/2011         MEMO R ANDUM O F LAW IN UBS Se curitie s LLC and UBS AG, London Branch's R e ply 012               EMILY
                                 R EPLY                     Me m orandum of Law in Furthe r Support of The ir Motion                ALEXANDR A
                                                            for a C om m ission                                                     PO LER
 232          04/06/2011         AFFIDAVIT O R              Affirm ation of Em ily A. Pole r                         012            EMILY
                                 AFFIR MATIO N IN SUPPO R T                                                                         ALEXANDR A
                                 O F MO TIO N                                                                                       PO LER
 233          04/06/2011         EXHIBIT(S)                 Ex hibit A to Affirm ation of Em ily A. Pole r           012            EMILY
                                                                                                                                    ALEXANDR A
                                                                                                                                    PO LER
 234          04/06/2011         EXHIBIT(S)                  Ex hibit B to Affirm ation of Em ily A. Pole r                   012   EMILY
                                                                                                                                    ALEXANDR A
                                                                                                                                    PO LER
 235          04/12/2011         SUR -R EPLY               De fe ndants' Sur-R e ply in Furthe r O pposition to               012   KIER AN M
                                                           Plaintiffs' Motion for the Issuance of a C om m ission for               C O R C O R AN
                                                           the Production of Docum e nts by and De position of
                                                           Ke vin Dillon - R EDAC TED
 236          04/12/2011         AFFIDAVIT O R             Affidavit of Ke vin P. R obinowitz in Furthe r O pposition to      012   KIER AN M
                                 AFFIR MATIO N IN          Plaintiffs' Motion for the Issuance of a C om m ission for               C O R C O R AN
                                 O PPO SITIO N TO MO TIO N the Production of Docum e nts by and De position of
                                                           Ke vin Dillon - R EDAC TED
 237          04/14/2011         O R DER - INTER IM        re : m otion no. 012, INTER IM O R DER e nte re d in the           012   C lifford R e ig
                                                           office of the C ounty C le rk on April 14, 2011                          court use r
 238          05/09/2011         DEC ISIO N + O R DER O N  re : m otion no. 012, DEC ISIO N + O R DER O N MO TIO N            012   Dawn
                                 MO TIO N                  e nte re d in the office of the C ounty C le rk on May 09,               C rawford
                                                           2011                                                                     court use r
 239          05/09/2011         NO TIC E O F ENTR Y       Notice of Entry of Judgm e nt                                      012   EMILY
                                                                                                                                    ALEXANDR A
                                                                                                                                    PO LER
 240          05/11/2011         STIPULATIO N - O THER       Stipulation to File Se cond Am e nde d C om plaint                     GR EGO R Y A
                                                                                                                                    MAR KEL
 240-1        05/11/2011         EXHIBIT(S)                  Ex hibit A - Se cond Am e nde d C om plaint                            GR EGO R Y A
                                                                                                                                    MAR KEL
 240-2        05/11/2011         EXHIBIT(S)                  Ex hibits A-I to Ex hibit A                                            GR EGO R Y A
                                                                                                                                    MAR KEL
 241          05/11/2011         SUMMO NS (PR E R JI)        Se cond Am e nde d Sum m ons                                           GR EGO R Y A
                                 (AMENDED)                                                                                          MAR KEL
 242          05/11/2011         C O MPLAINT (AMENDED)       Se cond Am e nde d C om plaint                                         GR EGO R Y A
                                                                                                                                    MAR KEL
 242-1        05/11/2011         EXHIBIT(S)                  Ex hibit A                                                             GR EGO R Y A
                                                                                                                                    MAR KEL
 242-2        05/11/2011         EXHIBIT(S)                  Ex hibit B                                                             GR EGO R Y A
                                                                                                                                    MAR KEL
 242-3        05/11/2011         EXHIBIT(S)                  Ex hibit C                                                             GR EGO R Y A
                                                                                                                                    MAR KEL
 242-4        05/11/2011         EXHIBIT(S)                  Ex hibit D                                                             GR EGO R Y A
                                                                                                                                    MAR KEL
 242-5        05/11/2011         EXHIBIT(S)                  Ex hibit E                                                             GR EGO R Y A
                                                                                                                                    MAR KEL
 242-6        05/11/2011         EXHIBIT(S)                  Ex hibit F                                                             GR EGO R Y A
                                                                                                                                    MAR KEL
 242-7        05/11/2011         EXHIBIT(S)                  Ex hibit G                                                             GR EGO R Y A
                                                                                                                                    MAR KEL
 242-8        05/11/2011         EXHIBIT(S)                  Ex hibit H                                                             GR EGO R Y A
                                                                                                                                    MAR KEL
 242-9        05/11/2011         EXHIBIT(S)                  Ex hibit I                                                             GR EGO R Y A
                                                                                                                                    MAR KEL
 243          05/26/2011         AFFIR MATIO N/AFFIDAVIT     Affidavit of Se rvice of Se cond Am e nde d Sum m ons                  GR EGO R Y A
                                 O F SER VIC E               (Date d May 11, 2011) and Se cond Am e nde d                           MAR KEL
                                                             C om plaint, Including Ex hibits A - I (Date d May 11,
                                                             2011)
 244          05/31/2011         LETTER /                    2011.05.31 Le tte r from K. R obinowitz to Justice Frie d              BAR O N T
https://iapps.courts.state.ny.us/webcivil/FCASeFiledDocsDetail?county_code=mX_PLUS_funevHqkNtw6wbl9UCA%3D%3D&txtIndexNo=jITJZojBbCBCYjm…             12/27
2/1/2021   Case 19-34054-sgj11 Doc 1877-8 Filed      02/01/21
                                                  WebCivil             Entered
                                                           Supreme - eFiled       02/01/21
                                                                            Documents Detail 18:22:33                         Page 14 of
                          C O R R ESPO NDENC E TO            28                                                                     O UR SLER
                                 JUDGE
 245           05/31/2011        ANSW ER                     Answe r of C DO Fund and SO HC to Se cond Am e nde d                   BAR O N T
                                                             C om plaint                                                            O UR SLER
 246           05/31/2011        ANSW ER                     Answe r of Highland Financial, C re dit O pportunitie s,               BAR O N T
                                                             C re dit Strate gie s, C rusade r and Strand to Se cond                O UR SLER
                                                             Am e nde d C om plaint
 247           06/03/2011        LETTER /                    R e dacte d Le tte r from Gre gory A. Mark e l of C adwalade r         GR EGO R Y A
                                 C O R R ESPO NDENC E TO     to Justice Frie d in R e sponse to De fe ndants' May 31,               MAR KEL
                                 JUDGE                       2011 Le tte r (Docum e nt No. 244)
 247-1         06/03/2011        EXHIBIT(S)                  --none --                                                              GR EGO R Y A
                                                                                                                                    MAR KEL
 248           06/27/2011        O R DER - C O MMISSIO N     O R DER R E: C O MMISSIO N e nte re d in the office of the             Matthe w
                                                             C ounty C le rk on June 27, 2011                                       Koe nig
                                                                                                                                    court use r
 249           06/27/2011        C O MMISSIO N               C O MMISSIO N e nte re d in the office of the C ounty C le rk          Matthe w
                                                             on June 27, 2011                                                       Koe nig
                                                                                                                                    court use r
 250           08/01/2011        NO TIC E O F ENTR Y         Notice of Entry of De cision and O rde r of Appe llate           006   KIER AN M
                                                             Division, First De partm e nt date d July 21, 2011                     C O R C O R AN
 251           08/10/2011        R EMITTITUR                 R EMITTITUR e nte re d in the office of the C ounty C le rk            Matthe w
                                                             on August 10, 2011                                                     Koe nig
                                                                                                                                    court use r
 252           09/30/2011        NO TIC E O F MO TIO N      Notice of Motion for Issuance of C om m ission R e garding 013          GR EGO R Y A
                                                            W alte r R . Louis                                                      MAR KEL
 252-1         09/30/2011        AFFIDAVIT O R              Affidavit of Elle n M. Halste ad in Support of Motion for  013          GR EGO R Y A
                                 AFFIR MATIO N IN SUPPO R T C om m ission R e garding W alte r R . Louis                            MAR KEL
                                 O F MO TIO N
 252-2         09/30/2011        O R DER ( PR O PO SED )    [Propose d] O rde r                                        013          GR EGO R Y   A
                                                                                                                                    MAR KEL
 252-3         09/30/2011        C O MMISSIO N               Propose d C om m ission                                          013   GR EGO R Y   A
                                 (PR O PO SED)                                                                                      MAR KEL
 253           09/30/2011        NO TIC E O F MO TIO N      Notice of Motion for Issuance of C om m issions                   014   GR EGO R Y   A
                                                            R e garding R ichard Buttim e r and UNC C                               MAR KEL
 253-1         09/30/2011        AFFIDAVIT O R              Affidavit of Elle n M. Halste ad in Support of Motion for         014   GR EGO R Y   A
                                 AFFIR MATIO N IN SUPPO R T Issuance of C om m ission R e garding R ichard Buttim e r               MAR KEL
                                 O F MO TIO N               and UNC C n
 253-2         09/30/2011        O R DER ( PR O PO SED )    [Propose d] O rde r for Buttim e r                                014   GR EGO R Y A
                                                                                                                                    MAR KEL
 253-3         09/30/2011        O R DER ( PR O PO SED )     [Propose d] O rde r for UNC C                                    014   GR EGO R Y A
                                                                                                                                    MAR KEL
 253-4         09/30/2011        C O MMISSIO N               Propose d C om m ission for Buttim e r                           014   GR EGO R Y A
                                 (PR O PO SED)                                                                                      MAR KEL
 253-5         09/30/2011        EXHIBIT(S)                  Ex hibit A to Propose d C om m ission for Buttim e r             014   GR EGO R Y A
                                                                                                                                    MAR KEL
 253-6         09/30/2011        C O MMISSIO N               Propose d C om m ission for UNC C                                014   GR EGO R Y A
                                 (PR O PO SED)                                                                                      MAR KEL
 253-7         09/30/2011        EXHIBIT(S)                  Ex hibit A to Propose d C om m ission for UNC C                  014   GR EGO R Y A
                                                                                                                                    MAR KEL
 254           10/31/2011        DEC ISIO N + O R DER O N  re : m otion no. 014, DEC ISIO N + O R DER O N MO TIO N        014       C lifford R e ig
                                 MO TIO N                  e nte re d in the office of the C ounty C le rk on O ctobe r             court use r
                                                           31, 2011
 255           11/01/2011        DEC ISIO N + O R DER O N  re : m otion no. 013, DEC ISIO N + O R DER O N MO TIO N        013       C lifford R e ig
                                 MO TIO N                  e nte re d in the office of the C ounty C le rk on Nove m be r           court use r
                                                           01, 2011
 256           11/10/2011        NO TIC E O F APPEAR ANC E Notice of Appe arance of Andre w C lubok , Esq. on be half               MAUR A M
                                 (PO ST R JI)              of Plaintiffs UBS Se curitie s LLC and UBS AG, London                    KLUGMAN
                                                           Branch
 257           11/21/2011        O R DER TO SHO W C AUSE ( Propose d O rde r to Show C ause                               015       EMILY
                                 PR O PO SED )                                                                                      ALEXANDR A
                                                                                                                                    PO LER
 258           11/21/2011        AFFIR MATIO N               Affirm ation of Em ily A. Pole r                                 015   EMILY
                                                                                                                                    ALEXANDR A
                                                                                                                                    PO LER
 259           11/21/2011        EXHIBIT(S)                  Ex hibit A through E to Affirm ation of Em ily A. Pole r         015   EMILY
                                                                                                                                    ALEXANDR A
                                                                                                                                    PO LER
 260           11/21/2011        C O MMISSIO N               Propose d C om m ission to Tak e Discove ry of Non-Party         015   EMILY
                                 (PR O PO SED)               W itne ss O utside NY                                                  ALEXANDR A
                                                                                                                                    PO LER
 261           11/21/2011        O R DER ( PR O PO SED )     Propose d O rde r Dire cting the Issuance of a                   015   EMILY
                                                             C om m ission to Tak e Discove ry                                      ALEXANDR A
                                                                                                                                    PO LER
 262           12/01/2011        O R DER TO SHO W C AUSE     O R DER TO SHO W C AUSE e nte re d in the office of the          015   Nancy A
                                                             C ounty C le rk on De ce m be r 01, 2011                               Horowitz
                                                                                                                                    court use r
 263           12/12/2011        AFFIDAVIT                   Affidavit of Ke vin R obinwitz date d De ce m be r 9, 2011      015    KIER AN M
                                                             Providing C onse nt to Issuance of C om ission                         C O R C O R AN
 264           12/16/2011        DEC ISIO N + O R DER O N    re : m otion no. 015, DEC ISIO N + O R DER O N MO TIO N         015    C lifford R e ig
                                 MO TIO N                    e nte re d in the office of the C ounty C le rk on De ce m be r        court use r
                                                             16, 2011
 265           02/21/2012        NO TIC E O F MO TIO N       Notice for the Issuance of C om m issions - Bank of NY          016    MAR K W
                                                             Me llon Trust C om pany                                                R ASMUSSEN
https://iapps.courts.state.ny.us/webcivil/FCASeFiledDocsDetail?county_code=mX_PLUS_funevHqkNtw6wbl9UCA%3D%3D&txtIndexNo=jITJZojBbCBCYjm…             13/27
2/1/2021   Case 19-34054-sgj11 Doc 1877-8 Filed  02/01/21
                                             WebCivil             Entered
                                                      Supreme - eFiled       02/01/21
                                                                       Documents Detail   18:22:33                            Page 15 of
 265-1        02/21/2012  AFFIDAVIT O R                 28
                                              R asm usse n Affirm ation In Support of Motion for                              016   MAR K W
                                 AFFIR MATIO N IN SUPPO R T Issuance of C om m issions - Bank of NY Me llon Trust                   R ASMUSSEN
                                 O F MO TIO N               C om pany
 265-2        02/21/2012         EXHIBIT(S)                 Ex hibit to R asm usse n Affirm ation                             016   MAR K W
                                                                                                                                    R ASMUSSEN
 266          02/21/2012         NO TIC E O F MO TIO N      Notice of Motion for the Issuance of C om m issions -             017   MAR K W
                                                            Ne x bank , SSB and Ne x bank Se curitie s, Inc.                        R ASMUSSEN
 266-1        02/21/2012         AFFIDAVIT O R              R asm usse n Affirm ation in Support of Motion for the            017   MAR K W
                                 AFFIR MATIO N IN SUPPO R T Issuance of C om m issions - Ne x bank , SSB and                        R ASMUSSEN
                                 O F MO TIO N               Ne x bank Se curitie s, Inc.
 266-2        02/21/2012         EXHIBIT(S)                 Ex hibits to R asm usse n Affirm ation                            017   MAR K W
                                                                                                                                    R ASMUSSEN
 267          02/21/2012         NO TIC E O F MO TIO N      Notice of Motion for the Issuance of a C om m ission -            018   MAR K W
                                                            State Stre e t Bank and Trust C om pany                                 R ASMUSSEN
 267-1        02/21/2012         AFFIDAVIT O R              R asm usse n Affirm ation In Support of Motion for the            018   MAR K W
                                 AFFIR MATIO N IN SUPPO R T Issuance of a C om m ission - State Stre e t Bank and                   R ASMUSSEN
                                 O F MO TIO N               Trust C om pany
 267-2        02/21/2012         EXHIBIT(S)                 Ex hibits to R asm usse n Affirm ation                            018   MAR K W
                                                                                                                                    R ASMUSSEN
 268          02/22/2012         NO TIC E O F MO TIO N      Notice of Motion for the Issuance of a C om m ission for          020   MAR K W
                                                            the De position of Ke vin I. Dowd                                       R ASMUSSEN
 268-1        02/22/2012         AFFIDAVIT O R              Affirm ation of R asm usse n In Support of Motion for the         020   MAR K W
                                 AFFIR MATIO N IN SUPPO R T Issuance of a C om m ission for the De position of Ke vin               R ASMUSSEN
                                 O F MO TIO N               I. Dowd
 268-2        02/22/2012         EXHIBIT(S)                 Ex hibit to R asm usse n Affirm ation                             020   MAR K W
                                                                                                                                    R ASMUSSEN
 269          02/22/2012         NO TIC E O F MO TIO N      Notice of Motion for the Issuance of a C om m ission for          021   MAR K W
                                                            the De position of C harle s McQ ue ary                                 R ASMUSSEN
 269-1        02/22/2012         AFFIDAVIT O R              Affirm ation of R asm usse n in Support of Motion for the         021   MAR K W
                                 AFFIR MATIO N IN SUPPO R T Issuance of a C om m ission for the De position of                      R ASMUSSEN
                                 O F MO TIO N               C harle s McQ ue ary
 269-2        02/22/2012         EXHIBIT(S)                 Ex hibit to R asm usse n Affirm ation                             021   MAR K W
                                                                                                                                    R ASMUSSEN
 270          02/22/2012         NO TIC E O F MO TIO N      Notice of Motion for the Issuance of a C om m ission for          022   MAR K W
                                                            the De position of Michae l Zarrilli                                    R ASMUSSEN
 270-1        02/22/2012         AFFIDAVIT O R              Affirm ation of R asm usse n In Support of Motion for the         022   MAR K W
                                 AFFIR MATIO N IN SUPPO R T Issuance of a C om m ission for the De position of                      R ASMUSSEN
                                 O F MO TIO N               Michae l Zarrilli
 270-2        02/22/2012         EXHIBIT(S)                 Ex hibit to R asm usse n Affirm ation                             022   MAR K W
                                                                                                                                    R ASMUSSEN
 271          02/27/2012         NO TIC E O F MO TIO N      NO TIC E O F MO TIO N FO R THE ISSUANC E O F                      019   MAR K W
                                                            C O MMISSIO NS FO R THE DEPO SITIO NS O F GIBR AN                       R ASMUSSEN
                                                            MAHMUD, PAUL R O O S, PAUL KAUFFMAN, PATR IC K
                                                            DAUGHER TY, C HR IS HALPIN, KUR TIS PLUMER , R YAN
                                                            GR ATEKE, BR IAN C O X, KEN MC GO VER N, AND TO DD
                                                            TR AVER S
 271-1        02/27/2012         AFFIDAVIT O R              R asm usse n Affirm ation to NO TIC E O F MO TIO N FO R           019   MAR K W
                                 AFFIR MATIO N IN SUPPO R T THE ISSUANC E O F C O MMISSIO NS FO R THE                               R ASMUSSEN
                                 O F MO TIO N               DEPO SITIO NS O F GIBR AN MAHMUD, PAUL R O O S, PAUL
                                                            KAUFFMAN, PATR IC K DAUGHER TY, C HR IS HALPIN,
                                                            KUR TIS PLUMER , R YAN GR ATEKE, BR IAN C O X, KEN
                                                            MC GO VER N, AND TO DD TR AVER S
 271-2        02/27/2012         EXHIBIT(S)                 Ex hibit to R asm usse n Affirm ation                             019   MAR K W
                                                                                                                                    R ASMUSSEN
 272          03/06/2012         DEC ISIO N + O R DER O N    re : m otion no. 022, DEC ISIO N + O R DER        O N MO TIO N   022   C lifford R e ig
                                 MO TIO N                    e nte re d in the office of the C ounty C le rk   on March 06,         court use r
                                                             2012
 273          03/06/2012         DEC ISIO N + O R DER O N    re : m otion no. 020, DEC ISIO N + O R DER        O N MO TIO N   020   C lifford R e ig
                                 MO TIO N                    e nte re d in the office of the C ounty C le rk   on March 06,         court use r
                                                             2012
 274          03/07/2012         DEC ISIO N + O R DER O N    re : m otion no. 016, DEC ISIO N + O R DER        O N MO TIO N   016   C lifford R e ig
                                 MO TIO N                    e nte re d in the office of the C ounty C le rk   on March 07,         court use r
                                                             2012
 275          03/07/2012         DEC ISIO N + O R DER O N    re : m otion no. 017, DEC ISIO N + O R DER        O N MO TIO N   017   C lifford R e ig
                                 MO TIO N                    e nte re d in the office of the C ounty C le rk   on March 07,         court use r
                                                             2012
 276          03/07/2012         Docum e nt De le te d
 277          03/07/2012         DEC ISIO N + O R DER O N    re : m otion no. 018, DEC ISIO N + O R DER O N MO TIO N          018   C lifford R e ig
                                 MO TIO N                    e nte re d in the office of the C ounty C le rk on March 07,           court use r
                                                             2012
 278          03/12/2012         DEC ISIO N + O R DER O N    re : m otion no. 019, DEC ISIO N + O R DER O N MO TIO N          019   Elle n C hin
                                 MO TIO N                    e nte re d in the office of the C ounty C le rk on March 12,           court use r
                                                             2012
 279          03/21/2012         NO TIC E O F ENTR Y         Notice of Entry of De cision and O rde r of Supre m e C ourt,    010   KIER AN M
                                                             Appe llate Division, First De partm e nt date d March 13,              C O R C O R AN
                                                             2012
 280          03/29/2012         DEC ISIO N + O R DER O N    re : m otion no. 021, DEC ISIO N + O R DER O N MO TIO N          021   C lifford R e ig
                                 MO TIO N                    e nte re d in the office of the C ounty C le rk on March 29,           court use r
                                                             2012
 281          04/02/2012         R EMITTITUR                 R EMITTITUR e nte re d in the office of the C ounty C le rk            Michae l
                                                             on April 02, 2012                                                      C arlucci
                                                                                                                                    court use r
 282          04/11/2012         O R DER ( PR O PO SED )     [Propose d] Se cond Am e nde d Sche duling O rde r                     MAR K W

https://iapps.courts.state.ny.us/webcivil/FCASeFiledDocsDetail?county_code=mX_PLUS_funevHqkNtw6wbl9UCA%3D%3D&txtIndexNo=jITJZojBbCBCYjm…             14/27
2/1/2021   Case 19-34054-sgj11 Doc 1877-8 Filed 02/01/21
                                             WebCivil             Entered
                                                      Supreme - eFiled       02/01/21
                                                                       Documents Detail 18:22:33                              Page 16 of
                                                        28                                                                          R ASMUSSEN
 283          04/12/2012         O R DER - O THER            O THER O R DER e nte re d in the office of the C ounty C le rk         Ve rnon
                                                             on April 12, 2012                                                      Hutchinson
                                                                                                                                    court use r
 284          05/25/2012         NO TIC E O F MO TIO N      Notice of Motion to Dism iss Se cond Am e nde d                   023   KIER AN M
                                                            C om plaint                                                             C O R C O R AN
 285          05/25/2012         AFFIR MATIO N              Affirm ation of Kie ran M. C orcoran date d May 25, 2012          023   KIER AN M
                                                            in Support of Motion to Dism iss Se cond Am e nde d                     C O R C O R AN
                                                            C om plaint
 286          05/25/2012         EXHIBIT(S)                 Ex hibits to Affirm ation of Kie ran M. C orcoran date d May      023   KIER AN M
                                                            25, 2012                                                                C O R C O R AN
 287          05/25/2012         MEMO R ANDUM O F LAW IN Me m orandum of Law in Support of Motion to Dism iss                 023   KIER AN M
                                 SUPPO R T                  Se cond Am e nde d C om plaint                                          C O R C O R AN
 288          06/20/2012         STIPULATIO N -             Stipulation Ex te nding R e turn Date of Motion to Dism iss       023   KIER AN M
                                 ADJO UR NMENT O F                                                                                  C O R C O R AN
                                 MO TIO N
 289          06/29/2012         NO TIC E O F MO TIO N      Notice of Motion for the Issuance of a C om m ission for          024   MAR K W
                                                            the De position of Michae l C olvin                                     R ASMUSSEN
 290          06/29/2012         AFFIDAVIT O R              R asm usse n Affirm ation in Support of Motion for the            024   MAR K W
                                 AFFIR MATIO N IN SUPPO R T Issuance of a C om m ission for the De position of                      R ASMUSSEN
                                 O F MO TIO N               Michae l C olvin
 291          06/29/2012         EXHIBIT(S)                 Ex hibit to R asm usse n Affirm ation                             024   MAR K W
                                                                                                                                    R ASMUSSEN
 292          07/05/2012         STIPULATIO N -              Stipulation Ex te nding R e turn Date of Motion to Dism iss 023        MAR K W
                                 ADJO UR NMENT O F                                                                                  R ASMUSSEN
                                 MO TIO N
 293          07/05/2012         AFFIDAVIT O R               Affirm ation of Kie ran M. C orcoran in O pposition to           024   KIER AN M
                                 AFFIR MATIO N IN            Motion for C om m ission                                               C O R C O R AN
                                 O PPO SITIO N TO MO TIO N
 294          07/06/2012         AFFIDAVIT O R               R e ply Affirm ation of R asm usse n in Furthe r Support of      024   MAR K W
                                 AFFIR MATIO N IN R EPLY     Motion for the Issuance of a C om m ission for the                     R ASMUSSEN
                                                             De position of C olvin
 295          07/11/2012         O R DER - INTER IM          R e : Motion #024, INTER IM DEC ISIO N/O R DER e nte re d        024   Ve rnon
                                                             in the office of the C ounty C le rk on July 11, 2012                  Hutchinson
                                                                                                                                    court use r
 296          07/12/2012         O R DER ( PR O PO SED )     Propose d Third Am e nde d Sche duling O rde r                         MAR K W
                                                                                                                                    R ASMUSSEN
 297          07/13/2012         MEMO R ANDUM O F LAW IN Plaintiffs' Me m orandum of Law in O pposition to Motion 023               ANDR EW
                                 O PPO SITIO N             to Dism iss of De fe ndants Highland C re dit Strate gie s               BR IAN
                                                           Maste r Fund, L.P., And Highland C rusade r O ffshore                    C LUBO K
                                                           Partne rs, L.P. [R e dacte d]
 298          07/13/2012         AFFIDAVIT O R             Affirm ation of Mark W. R asm usse n [R e dacte d]             023       MAR K W
                                 AFFIR MATIO N IN                                                                                   R ASMUSSEN
                                 O PPO SITIO N TO MO TIO N
 299          07/13/2012         EXHIBIT(S)                Ex hibits 1 - 3 to Affirm ation of Mark W. R asm usse n        023       MAR K W
                                                           [R e dacte d]                                                            R ASMUSSEN
 300          07/16/2012         O R DER - O THER          O THER O R DER e nte re d in the office of the C ounty C le rk           Ve rnon
                                                           on July 16, 2012                                                         Hutchinson
                                                                                                                                    court use r
 301          07/23/2012         DEC ISIO N + O R DER O Nre : m otion no. 024, DEC ISIO N + O R DER O N MO TIO N              024   Gre gory
                                 MO TIO N                e nte re d in the office of the C ounty C le rk on July 23,                Gonsie sk i
                                                         2012                                                                       court use r
 302          08/06/2012         MEMO R ANDUM O F LAW IN R e ply Me m orandum of Law in Support of Motion to                  023   KIER AN M
                                 R EPLY                  Dism iss                                                                   C O R C O R AN
 303          12/05/2012         LETTER /                Joint le tte r to Justice Frie dm an, pursuant to                          ANDR EW
                                 C O R R ESPO NDENC E TO C om m e rcial Division R ule 24(c)                                        BR IAN
                                 JUDGE                                                                                              C LUBO K
 304          12/13/2012         TR ANSC R IPT O F       Transcript of 12.12.2012 He aring on Motions to                            KIER AN M
                                 PR O C EEDINGS          Dism iss                                                                   C O R C O R AN
 305          01/24/2013         O R DER ( PR O PO SED ) Fourth Am e nde d Sche duling O rde r                                      ANDR EW
                                                                                                                                    BR IAN
                                                                                                                                    C LUBO K
 306          02/05/2013         O R DER - O THER            O THER O R DER e nte re d in the office of the C ounty C le rk         De bora F
                                                             on Fe bruary 5, 2013                                                   Bak e r
                                                                                                                                    court use r
 307          02/27/2013         TR ANSC R IPT O F           12.11.2012 Transcript of Status C onfe rnce                            KIER AN M
                                 PR O C EEDINGS                                                                                     C O R C O R AN
 308          06/10/2013         O R DER ( PR O PO SED )     --none --                                                              KIER AN M
                                                                                                                                    C O R C O R AN
 309          07/02/2013         O THER C O UR T FILED       AMENDED SC HDULING O R DER date d 6/28/13 e nte re d in                De bora F
                                 DO C UMENT                  the office of the C ounty C le rk on July 2, 2013                      Bak e r
                                                                                                                                    court use r
 310          07/23/2013         C O NSENT TO C HANGE        --none --                                                              ANDR EW J
                                 ATTO R NEY (PO ST R JI)                                                                            MELNIC K
 311          08/02/2013         LETTER /                    Le tte r to Justice Frie dm an pursuant to C om m e rical              ANDR EW
                                 C O R R ESPO NDENC E TO     Division R ule 24(c) [R e dacte d]                                     BR IAN
                                 JUDGE                                                                                              C LUBO K
 312          08/16/2013         AFFIR MATIO N               Affirm ation of Notification                                           JEFFR EY GR EG
                                                                                                                                    LANDIS
 313          08/19/2013         O R DER TO SHO W C AUSE ( O rde r to Show C ause for Entry of an O rde r Unde r N.Y.         025   ANDR EW
                                 PR O PO SED )             De btor and C re ditor Law Se ction 279 and for Entry of a               BR IAN
                                                           Te m porary R e straining O rde r to R e strain De fe ndants             C LUBO K
                                                           from Transfe rring Prope rty

https://iapps.courts.state.ny.us/webcivil/FCASeFiledDocsDetail?county_code=mX_PLUS_funevHqkNtw6wbl9UCA%3D%3D&txtIndexNo=jITJZojBbCBCYjm…             15/27
2/1/2021   Case 19-34054-sgj11 Doc 1877-8 Filed   02/01/21
                                             WebCivil              Entered
                                                      Supreme - eFiled          02/01/21
                                                                        Documents  Detail   18:22:33                          Page 17 of
 314          08/19/2013  AFFIDAVIT O R                 28
                                              Affirm ation of Je ffe ry Landis in Support of Plaintiffs'                      025   ANDR EW
                                 AFFIR MATIO N IN SUPPO R T O rde r to Show C ause for Entry of an O rde r Unde r N.Y.              BR IAN
                                                            De btor and C re ditor Law Se ction 279 and for Entry of a              C LUBO K
                                                            Te m porary R e straining O rde r to R e strain De fe ndants
                                                            from Transfe rring Prope rty
 315           08/19/2013        MEMO R ANDUM O F LAW IN Plaintiffs' Me m orandum of Law in Support of O rde r to             025   ANDR EW
                                 SUPPO R T                  Show C ause for Entry of an O rde r Unde r N.Y. De btor                 BR IAN
                                                            and C re ditor Law Se ction 279 and for Entry of a                      C LUBO K
                                                            Te m porary R e straining O rde r to R e strain De fe ndants
                                                            from Transfe rring Prope rty
 316           08/20/2013        O R DER TO SHO W C AUSE re : m otion no. 025, O R DER TO SHO W C AUSE e nte re d             025   Jane Phe lan
                                                            in the office of the C ounty C le rk on August 20, 2013                 court use r
 317           08/21/2013        O R DER TO SHO W C AUSE re : m otion no. 025, O R DER TO SHO W C AUSE e nte re d             025   Edward
                                                            in the office of the C ounty C le rk on August 21, 2013                 Kvarantan
                                                                                                                                    court use r
 318           08/22/2013        AFFIR MATIO N/AFFIDAVIT       Affidavits of Se rvice of signe d O rde r to Show C ause and 025     ANDR EW
                                 O F SER VIC E                 all supporting pape rs                                               BR IAN
                                                                                                                                    C LUBO K
 319           08/27/2013        STIPULATIO N - O THER - ( Stipulation re : O rde r to Show C ause [R e dacte d]              025   JEFFR EY GR EG
                                 R EQ UEST TO SO O R DER )                                                                          LANDIS
 320           09/03/2013        NO TE O F ISSUE:W ITHO UT Note of Issue                                                            ANDR EW
                                 JUR Y                                                                                              BR IAN
                                                                                                                                    C LUBO K
 321           09/04/2013        TR ANSC R IPT O F             R e dacte d Transcript of the 8/19/13 He aring re garding      025   ANDR EW
                                 PR O C EEDINGS                O rde r to Show C ause se e k ing a TR O                             BR IAN
                                                                                                                                    C LUBO K
 322           09/06/2013        MEMO R ANDUM O F LAW IN       --none --                                                      025   KIER AN M
                                 O PPO SITIO N                                                                                      C O R C O R AN
 323           09/06/2013        AFFIDAVIT O R                 --none --                                                      025   KIER AN M
                                 AFFIR MATIO N IN                                                                                   C O R C O R AN
                                 O PPO SITIO N TO MO TIO N
 324           09/06/2013        AFFIDAVIT O R                 --none --                                                      025   KIER AN M
                                 AFFIR MATIO N IN                                                                                   C O R C O R AN
                                 O PPO SITIO N TO MO TIO N
 325           09/10/2013        DEMAND FO R JUR Y TR IAL      --none --                                                            KIER AN M
                                 (N.O .I. PR EVIO USLY PAID)                                                                        C O R C O R AN
 326           09/13/2013        MEMO R ANDUM O F LAW IN       Plaintiffs' R e ply Me m orandum of Law in Support of        025     ANDR EW
                                 R EPLY                        O rde r to Show C ause and Te m porary R e straining O rde r         BR IAN
                                                               [R e dacte d]                                                        C LUBO K
 327           09/13/2013        AFFIDAVIT O R                 Se cond Affirm ation of Je ffre y Landis in Support of       025     JEFFR EY GR EG
                                 AFFIR MATIO N IN R EPLY       Plaintiffs' O rde r to Show C ause and Te m porary                   LANDIS
                                                               R e straining O rde r [R e dacte d]
 328           09/23/2013        LETTER /                      --none --                                                    025     KIER AN M
                                 C O R R ESPO NDENC E TO                                                                            C O R C O R AN
                                 JUDGE
 329           09/26/2013        STIPULATIO N - O THER - ( --none --                                                                KIER AN M
                                 R EQ UEST TO SO O R DER )                                                                          C O R C O R AN
 330           10/02/2013        TR ANSC R IPT O F         --none --                                                          025   KIER AN M
                                 PR O C EEDINGS                                                                                     C O R C O R AN
 331           10/07/2013        STIPULATIO N - SO         SO O R DER ED STIPULATIO N e nte re d in the office of the               De bora F
                                 O R DER ED                C ounty C le rk on O ctobe r 7, 2013                                     Bak e r
                                                                                                                                    court use r
 332           10/17/2013        NO TIC E O F MO TIO N         --none --                                                      026   KIER AN M
                                                                                                                                    C O R C O R AN
 333           10/17/2013        AFFIDAVIT O R                 --none --                                                      026   KIER AN M
                                 AFFIR MATIO N IN SUPPO R T                                                                         C O R C O R AN
                                 O F MO TIO N
 334           10/17/2013        AFFIDAVIT O R                 --none --                                                      026   KIER AN M
                                 AFFIR MATIO N IN SUPPO R T                                                                         C O R C O R AN
                                 O F MO TIO N
 335           10/17/2013        AFFIDAVIT O R                 --none --                                                      026   KIER AN M
                                 AFFIR MATIO N IN SUPPO R T                                                                         C O R C O R AN
                                 O F MO TIO N
 336           10/17/2013        MEMO R ANDUM O F LAW IN       --none --                                                      026   KIER AN M
                                 SUPPO R T                                                                                          C O R C O R AN
 337           10/17/2013        STATEMENT O F MATER IAL       --none --                                                      026   KIER AN M
                                 FAC TS                                                                                             C O R C O R AN
 338           10/17/2013        NO TIC E O F MO TIO N         --none --                                                      027   KIER AN M
                                                                                                                                    C O R C O R AN
 339           10/17/2013        AFFIDAVIT O R                 --none --                                                      027   KIER AN M
                                 AFFIR MATIO N IN SUPPO R T                                                                         C O R C O R AN
 340           10/17/2013        AFFIDAVIT O R                 --none --                                                      027   KIER AN M
                                 AFFIR MATIO N IN SUPPO R T                                                                         C O R C O R AN
 341           10/17/2013        MEMO R ANDUM O F LAW IN       --none --                                                      027   KIER AN M
                                 SUPPO R T                                                                                          C O R C O R AN
 342           10/17/2013        STATEMENT O F MATER IAL       --none --                                                      027   KIER AN M
                                 FAC TS                                                                                             C O R C O R AN
 343           11/12/2013        LETTER /                      --none --                                                            KIER AN M
                                 C O R R ESPO NDENC E TO                                                                            C O R C O R AN
                                 JUDGE
 344           11/12/2013        TR ANSC R IPT O F             Transcript of te le phone confe re nce he ld be fore Justice         ANDR EW
                                 PR O C EEDINGS                Frie dm an on Nove m be r 8, 2013                                    BR IAN
                                                                                                                                    C LUBO K

https://iapps.courts.state.ny.us/webcivil/FCASeFiledDocsDetail?county_code=mX_PLUS_funevHqkNtw6wbl9UCA%3D%3D&txtIndexNo=jITJZojBbCBCYjm…             16/27
2/1/2021   Case 19-34054-sgj11 Doc 1877-8 Filed   02/01/21
                                             WebCivil              Entered
                                                       Supreme - eFiled       02/01/21
                                                                        Documents Detail 18:22:33                              Page 18 of
 345          11/12/2013  LETTER /            Le tte r   28                                                                          ANDR EW
                                 C O R R ESPO NDENC E TO                                                                             BR IAN
                                 JUDGE                                                                                               C LUBO K
 346          11/22/2013         MEMO R ANDUM O F LAW IN Plaintiffs? Me m orandum of Law In O pposition to                     026   ANDR EW
                                 O PPO SITIO N             De fe ndants Highland C apital Manage m e nt, L.P.,                       BR IAN
                                                           Highland Financial Partne rs, L.P., Highland C re dit                     C LUBO K
                                                           Strate gie s Maste r Fund, L.P., Highland C rusade r
                                                           O ffshore Partne rs, L.P., Highland C re dit O pportunitie s
                                                           C DO , L.P
 347          11/22/2013         AFFIDAVIT O R             Affirm ation of Je ffre y Landis in Support of Plaintiffs?          026   ANDR EW
                                 AFFIR MATIO N IN          Me m o of Law In O pposition to De fe ndants HFP, e t al.                 BR IAN
                                 O PPO SITIO N TO MO TIO N                                                                           C LUBO K
 348          11/22/2013         MEMO R ANDUM O F LAW IN Plaintiffs' Me m orandum of Law in O pposition to                     027   ANDR EW
                                 O PPO SITIO N             De fe ndants Highland C DO O pportunity Maste r Fund                      BR IAN
                                                           and Highland Spe cial O pportunitie s Holding C om pany's                 C LUBO K
                                                           Motion for Sum m ary Judgm e nt
 349          11/22/2013         AFFIDAVIT O R             Affirm ation of Je ffre y Landis in Support of Plaintiffs'          027   ANDR EW
                                 AFFIR MATIO N IN          Me m o of Law in O pposition to De fe ndants Fund's                       BR IAN
                                 O PPO SITIO N TO MO TIO N Motion for Sum m ary Judgm e nt                                           C LUBO K
 350          11/25/2013         O THER C O UR T FILED     O THER C O UR T FILED DO C UMENT e nte re d in the office                 De bora F
                                 DO C UMENT                of the C ounty C le rk on Nove m be r 25, 2013                            Bak e r
                                                                                                                                     court use r
 351          11/25/2013         DEC ISIO N + O R DER O N     re : m otion no. 023, DEC ISIO N + O R DER O N MO TIO N        023     C lifford R e ig
                                 MO TIO N                     e nte re d in the office of the C ounty C le rk on Nove m be r         court use r
                                                              25, 2013
 352          11/25/2013         DEC ISIO N + O R DER O N     re : m otion no. 025, DEC ISIO N + O R DER O N MO TIO N        025     C lifford R e ig
                                 MO TIO N                     e nte re d in the office of the C ounty C le rk on Nove m be r         court use r
                                                              25, 2013
 353          11/25/2013         NO TIC E O F ENTR Y          Notice of Entry of Am e nde d De cision & O rde r - Motion     023     ANDR EW
                                                              Se que nce 23                                                          BR IAN
                                                                                                                                     C LUBO K
 354          11/25/2013         NO TIC E O F ENTR Y          Notice of Entry of Am e nde d De cision & O rde r - Motion       025   ANDR EW
                                                              Se que nce 25                                                          BR IAN
                                                                                                                                     C LUBO K
 355          11/25/2013         NO TIC E O F APPEAL          --none --                                                        025   ANDR EW
                                                                                                                                     BR IAN
                                                                                                                                     C LUBO K
 356          11/25/2013         PR E-AR GUMENT               --none --                                                        025   ANDR EW
                                 STATEMENT                                                                                           BR IAN
                                                                                                                                     C LUBO K
 357          11/27/2013         AFFIR MATIO N/AFFIDAVIT      Affirm ation of Se rvice of O pposition to Motion for                  MIC HAEL
                                 O F SER VIC E                Sum m ary Judgm e nt                                                   ALEXANDER
                                                                                                                                     O NUFER
 358          11/27/2013         AFFIR MATIO N/AFFIDAVIT      Affirm ation of Se rvice of Notice of Appe al and Pre -                DAVID
                                 O F SER VIC E                argum e nt State m e nt                                                EDW AR D
                                                                                                                                     MYR E
 359          12/06/2013         NO TIC E O F C R O SS APPEAL Notice of C ross Appe al of Highland C re dit Strate gie s       023   KIER AN M
                                                              Maste r Fund, L.P. and Highland C rusade r O ffshore                   C O R C O R AN
                                                              Partne rs, L.P.
 360          12/06/2013         PR E-AR GUMENT               Pre -Argum e nt State m e nt of Highland C re dit Strate gie s   023   KIER AN M
                                 STATEMENT                    Maste r Fund, L.P. and Highland C rusade r O ffshore                   C O R C O R AN
                                                              Partne rs, L.P.
 361          12/11/2013         MEMO R ANDUM O F LAW IN R e ply Me m orandum of Law of De fe ndants                           026   KIER AN M
                                 R EPLY                                                                                              C O R C O R AN
 362          12/11/2013         AFFIDAVIT O R                Affirm ation of Kie ran M. C orcoran in Support of R e ply       026   KIER AN M
                                 AFFIR MATIO N IN SUPPO R T Me m orandum of Law                                                      C O R C O R AN
 363          12/11/2013         AFFIDAVIT O R                R e ply Affidavit of C lifford Stoops                            026   KIER AN M
                                 AFFIR MATIO N IN R EPLY                                                                             C O R C O R AN
 364          12/11/2013         MEMO R ANDUM O F LAW IN R e ply Me m orandum of Law of De fe ndants in Support of             027   KIER AN M
                                 R EPLY                       Sum m ary Judgm e nt                                                   C O R C O R AN
 365          12/11/2013         AFFIDAVIT O R                Affirm ation of Kie ran M. C orcoran in Support of R e ply       027   KIER AN M
                                 AFFIR MATIO N IN SUPPO R T Me m orandum of Law                                                      C O R C O R AN
 366          12/11/2013         AFFIDAVIT O R                R e ply Affidavit of C lifford Stoops                            027   KIER AN M
                                 AFFIR MATIO N IN R EPLY                                                                             C O R C O R AN
 367          01/30/2014         NO TIC E O F ENTR Y          Notice of Entry of De cision and O rde r of the Appe llate             ANDR EW
                                                              Division, First De partm e nt e nte re d on January 30,                BR IAN
                                                              2014                                                                   C LUBO K
 368          03/06/2014         TR ANSC R IPT O F            Fe b. 14, 2014 He aring Transcript                               026   ANDR EW
                                 PR O C EEDINGS                                                                                      BR IAN
                                                                                                                                     C LUBO K
 369          03/06/2014         TR ANSC R IPT O F            Fe b. 14, 2014 He aring Transcript                               027   ANDR EW
                                 PR O C EEDINGS                                                                                      BR IAN
                                                                                                                                     C LUBO K
 370          10/22/2014         LETTER /                     --none --                                                        026   KIER AN M
                                 C O R R ESPO NDENC E TO                                                                             C O R C O R AN
                                 JUDGE
 371          10/22/2014         LETTER /                     --none --                                                        027   KIER AN M
                                 C O R R ESPO NDENC E TO                                                                             C O R C O R AN
                                 JUDGE
 372          10/27/2014         O R DER - INTER IM           R e : Motion #026, INTER IM DEC ISIO N/O R DER e nte re d        026   De bora F
                                                              in the office of the C ounty C le rk on O ctobe r 27, 2014             Bak e r
                                                                                                                                     court use r
 373          10/27/2014         O R DER - INTER IM           R e : Motion #027, INTER IM DEC ISIO N/O R DER e nte re d        027   De bora F

https://iapps.courts.state.ny.us/webcivil/FCASeFiledDocsDetail?county_code=mX_PLUS_funevHqkNtw6wbl9UCA%3D%3D&txtIndexNo=jITJZojBbCBCYjm…              17/27
2/1/2021   Case 19-34054-sgj11 Doc 1877-8 Filed   02/01/21
                                             WebCivil             Entered
                                                      Supreme - eFiled         02/01/21
                                                                       Documents  Detail    18:22:33                         Page 19 of
                                                        28
                                              in the office of the C ounty C le rk on O ctobe r 27, 2014                           Bak e r
                                                                                                                                   court use r
 374           11/21/2014        STIPULATIO N - SO            SO O R DER ED STIPULATIO N e nte re d in the office of the           Julie
                                 O R DER ED                   C ounty C le rk on Nove m be r 21, 2014                              Guadalupe
                                                                                                                                   court use r
 375           12/22/2014        LETTER /                     --none --                                                      026   KIER AN M
                                 C O R R ESPO NDENC E TO                                                                           C O R C O R AN
                                 JUDGE
 376           12/22/2014        LETTER /                     --none --                                                      027   KIER AN M
                                 C O R R ESPO NDENC E TO                                                                           C O R C O R AN
                                 JUDGE
 377           01/16/2015        LETTER /                     --none --                                                      026   KIER AN M
                                 C O R R ESPO NDENC E TO                                                                           C O R C O R AN
                                 JUDGE
 378           01/16/2015        LETTER /                     --none --                                                      027   KIER AN M
                                 C O R R ESPO NDENC E TO                                                                           C O R C O R AN
                                 JUDGE
 379           02/19/2015        LETTER /                     --none --                                                      026   KIER AN M
                                 C O R R ESPO NDENC E TO                                                                           C O R C O R AN
                                 JUDGE
 380           02/19/2015        LETTER /                     --none --                                                      027   KIER AN M
                                 C O R R ESPO NDENC E TO                                                                           C O R C O R AN
                                 JUDGE
 381           02/20/2015        LETTER /C O R R ESPO NDENC E SO O R DER ED LETTER /C O R R ESPO NDENC E e nte re d in the         De bora F
                                 - SO O R DER ED              office of the C ounty C le rk on Fe bruary 20, 2015                  Bak e r
                                                                                                                                   court use r
 382           03/05/2015        LETTER /                     --none --                                                      026   KIER AN M
                                 C O R R ESPO NDENC E TO                                                                           C O R C O R AN
                                 JUDGE
 383           03/05/2015        LETTER /                     --none --                                                      027   KIER AN M
                                 C O R R ESPO NDENC E TO                                                                           C O R C O R AN
                                 JUDGE
 384           03/25/2015        LETTER /                     --none --                                                      026   KIER AN M
                                 C O R R ESPO NDENC E TO                                                                           C O R C O R AN
                                 JUDGE
 385           03/25/2015        LETTER /                     --none --                                                      027   KIER AN M
                                 C O R R ESPO NDENC E TO                                                                           C O R C O R AN
                                 JUDGE
 386           04/08/2015        LETTER /                     --none --                                                      026   KIER AN M
                                 C O R R ESPO NDENC E TO                                                                           C O R C O R AN
                                 JUDGE
 387           04/08/2015        LETTER /                     --none --                                                      027   KIER AN M
                                 C O R R ESPO NDENC E TO                                                                           C O R C O R AN
                                 JUDGE
 388           04/20/2015        LETTER /                     --none --                                                      026   KIER AN M
                                 C O R R ESPO NDENC E TO                                                                           C O R C O R AN
                                 JUDGE
 389           04/20/2015        LETTER /                     --none --                                                      027   KIER AN M
                                 C O R R ESPO NDENC E TO                                                                           C O R C O R AN
                                 JUDGE
 390           05/01/2015        LETTER /                     --none --                                                      026   KIER AN M
                                 C O R R ESPO NDENC E TO                                                                           C O R C O R AN
                                 JUDGE
 391           05/01/2015        LETTER /                     --none --                                                      027   KIER AN M
                                 C O R R ESPO NDENC E TO                                                                           C O R C O R AN
                                 JUDGE
 392           05/08/2015        LETTER /                     --none --                                                      026   KIER AN M
                                 C O R R ESPO NDENC E TO                                                                           C O R C O R AN
                                 JUDGE
 393           05/08/2015        LETTER /                     --none --                                                      027   KIER AN M
                                 C O R R ESPO NDENC E TO                                                                           C O R C O R AN
                                 JUDGE
 394           06/08/2015        LETTER /                     --none --                                                      026   KIER AN M
                                 C O R R ESPO NDENC E TO                                                                           C O R C O R AN
                                 JUDGE
 395           06/08/2015        LETTER /                     --none --                                                      027   KIER AN M
                                 C O R R ESPO NDENC E TO                                                                           C O R C O R AN
                                 JUDGE
 396           07/13/2015        STIPULATIO N -               Stipulation of Discontinuance with R e spe ct to Highland            ANDR EW
                                 DISC O NTINUANC E (PO ST     C re dit Strate gie s Maste r Fund, L.P.                             BR IAN
                                 R JI)                                                                                             C LUBO K
 397           07/21/2015        LETTER /                     re status update                                                     ANDR EW
                                 C O R R ESPO NDENC E TO                                                                           BR IAN
                                 JUDGE                                                                                             C LUBO K
 398           01/07/2016        LETTER /                     --none --                                                            ANDR EW
                                 C O R R ESPO NDENC E TO                                                                           BR IAN
                                 JUDGE                                                                                             C LUBO K
 399           01/07/2016        STIPULATIO N -               Stipulation of Discontinuance with re spe ct to Highland             ANDR EW
                                 DISC O NTINUANC E (PO ST     C rusade r O ffshore Partne rs, LP                                   BR IAN
                                 R JI)                                                                                             C LUBO K
 400           01/27/2016        R EMITTITUR                  --none --                                                            Matthe w
                                                                                                                                   C ork e tt
                                                                                                                                   court use r

https://iapps.courts.state.ny.us/webcivil/FCASeFiledDocsDetail?county_code=mX_PLUS_funevHqkNtw6wbl9UCA%3D%3D&txtIndexNo=jITJZojBbCBCYjm…            18/27
2/1/2021   Case 19-34054-sgj11 Doc 1877-8 Filed   02/01/21
                                             WebCivil               Entered
                                                        Supreme - eFiled       02/01/21
                                                                         Documents Detail    18:22:33                         Page 20 of
 401          09/01/2016  LETTER /                        28
                                              Le tte r from C lubok to Justice Frie dm an attaching                                 ANDR EW
                                 C O R R ESPO NDENC E TO      C itibank de cision                                                   BR IAN
                                 JUDGE                                                                                              C LUBO K
 402           01/26/2017        LETTER /                     Le tte r from A. C lubok to Justice Frie dm an re m otion for         ANDR EW
                                 C O R R ESPO NDENC E TO      pre fe re nce                                                         BR IAN
                                 JUDGE                                                                                              C LUBO K
 403           02/01/2017        LETTER /C O R R ESPO NDENC E --none --                                                             De bora F
                                 - SO O R DER ED                                                                                    Bak e r
                                                                                                                                    court use r
 404           02/15/2017        NO TIC E O F MO TIO N        Notice of Motion for a Trial Pre fe re nce                      028   ANDR EW
                                                                                                                                    BR IAN
                                                                                                                                    C LUBO K
 405           02/15/2017        AFFIDAVIT O R                Affirm ation of C arrie J. Bodne r in Support of Plaintiffs'    028   ANDR EW
                                 AFFIR MATIO N IN SUPPO R T   Motion for a Trial Pre fe re nce with Ex hibits                       BR IAN
                                 O F MO TIO N                                                                                       C LUBO K
 406           02/15/2017        MEMO R ANDUM O F LAW IN      Plaintiffs' Me m orandum of Law in Support of Motion for 028          ANDR EW
                                 SUPPO R T                    Trial Pre fe re nce Pursuant to C PLR 3403                            BR IAN
                                                                                                                                    C LUBO K
 407           02/16/2017        AFFIR MATIO N/AFFIDAVIT      M. O nufe r's Affirm ation of Se rvice                          028   MIC HAEL
                                 O F SER VIC E                                                                                      ALEXANDER
                                                                                                                                    O NUFER
 408           02/24/2017        MEMO R ANDUM O F LAW IN --none --                                                            028   KIER AN M
                                 O PPO SITIO N                                                                                      C O R C O R AN
 409           02/24/2017        AFFIDAVIT O R              Affirm ation of Kie ran M. C orcoran in Support of                028   KIER AN M
                                 AFFIR MATIO N IN SUPPO R T De fe ndants' Me m orandum of Law in O pposition to                     C O R C O R AN
                                                            Plaintiffs' Motion for a Trial Pre fe re nce
 410           02/24/2017        AFFIR MATIO N/AFFIDAVIT --none --                                                            028   KIER AN M
                                 O F SER VIC E                                                                                      C O R C O R AN
 411           03/24/2017        DEC ISIO N + O R DER O N   --none --                                                         026   Elle n Apple
                                 MO TIO N                                                                                           court use r
 412           03/24/2017        DEC ISIO N + O R DER O N   --none --                                                         027   Elle n Apple
                                 MO TIO N                                                                                           court use r
 413           03/27/2017        NO TIC E O F ENTR Y        Notice of Entry (Motion Se q. 026)                                026   ANDR EW
                                                                                                                                    BR IAN
                                                                                                                                    C LUBO K
 414           03/27/2017        NO TIC E O F ENTR Y          Notice of Entry (Motion Se q. 027)                              027   ANDR EW
                                                                                                                                    BR IAN
                                                                                                                                    C LUBO K
 415           04/07/2017        DEC ISIO N + O R DER O N     --none --                                                       028   Elle n Apple
                                 MO TIO N                                                                                           court use r
 416           04/13/2017        NO TIC E O F APPEAL          --none --                                                       026   KIER AN M
                                                                                                                                    C O R C O R AN
 417           04/13/2017        PR E-AR GUMENT               --none --                                                       026   KIER AN M
                                 STATEMENT                                                                                          C O R C O R AN
 418           04/13/2017        NO TIC E O F APPEAL          --none --                                                       027   KIER AN M
                                                                                                                                    C O R C O R AN
 419           04/13/2017        PR E-AR GUMENT               --none --                                                       027   KIER AN M
                                 STATEMENT                                                                                          C O R C O R AN
 420           04/26/2017        NO TIC E O F C R O SS APPEAL Notice of C ross Appe al                                        026   ANDR EW
                                                                                                                                    BR IAN
                                                                                                                                    C LUBO K
 421           04/26/2017        PR E-AR GUMENT               Plaintiffs/C ross-Appe llants UBS Se curitie s LLC and UBS 026        ANDR EW
                                 STATEMENT                    AG, London Branch's Pre -Argum e nt State m e nt with                 BR IAN
                                                              Ex hibit A                                                            C LUBO K
 422           04/26/2017        NO TIC E O F MO TIO N        Notice of Motion                                           029        ANDR EW
                                                                                                                                    BR IAN
                                                                                                                                    C LUBO K
 423           04/26/2017        MEMO R ANDUM O F LAW IN Me m orandum of Law in Support of Plaintiffs' Motion for 029               ANDR EW
                                 SUPPO R T               Le ave to R e argue                                                        BR IAN
                                                                                                                                    C LUBO K
 424           05/05/2017        MEMO R ANDUM O F LAW IN --none --                                                            029   KIER AN M
                                 O PPO SITIO N                                                                                      C O R C O R AN
 425           05/11/2017        MEMO R ANDUM O F LAW IN R e ply Me m orandum of Law in Support of Plaintiffs'                029   ANDR EW
                                 R EPLY                  Motion for Le ave to R e argue [R EDAC TED]                                BR IAN
                                                                                                                                    C LUBO K
 426           05/12/2017        NO TIC E O F APPEAR ANC E    --none --                                                             DEBO R AH
                                 (PO ST R JI)                                                                                       DEITSC H-
                                                                                                                                    PER EZ
 427           05/22/2017        NO TIC E O F MO TIO N        --none --                                                       030   KIER AN M
                                                                                                                                    C O R C O R AN
 428           05/22/2017        MEMO R ANDUM O F LAW IN --none --                                                            030   KIER AN M
                                 SUPPO R T                                                                                          C O R C O R AN
 429           05/22/2017        NO TIC E O F MO TIO N   Notice of Plaintiffs' O m nibus Motion in Lim ine                    031   ANDR EW
                                                                                                                                    BR IAN
                                                                                                                                    C LUBO K
 430           05/22/2017        MEMO R ANDUM O F LAW IN Plaintiffs' Me m orandum of Law in Support of the ir                 031   ANDR EW
                                 SUPPO R T               O m nibus Motion in Lim ine [R e dacte d]                                  BR IAN
                                                                                                                                    C LUBO K
 431           05/22/2017        AFFIDAVIT O R              Affirm ation of C arrie J. Bodne r in Support of Plaintiffs'      031   ANDR EW
                                 AFFIR MATIO N IN SUPPO R T O m nibus Motion in Lim ine                                             BR IAN
                                                                                                                                    C LUBO K
 432           06/02/2017        STIPULATIO N - O THER - ( Stipulation C onse nting to C ounse l's Pro Hac Vice                     KIER AN M
                                 R EQ UEST TO SO O R DER ) Application                                                              C O R C O R AN

https://iapps.courts.state.ny.us/webcivil/FCASeFiledDocsDetail?county_code=mX_PLUS_funevHqkNtw6wbl9UCA%3D%3D&txtIndexNo=jITJZojBbCBCYjm…             19/27
2/1/2021   Case 19-34054-sgj11 Doc 1877-8 Filed   02/01/21
                                             WebCivil              Entered
                                                      Supreme - eFiled         02/01/21
                                                                       Documents Detail    18:22:33                         Page 21 of
 433          06/02/2017  AFFIR MATIO N                 28
                                              Affirm ation of Kie ran M. C orcoran in Support of                                  KIER AN M
                                                              Adm itting C ounse l Pro Hac Vice                                   C O R C O R AN
 434          06/02/2017         AFFIDAVIT                    Affidavit of Jan Michal Zape ndowsk i in Support of                 KIER AN M
                                                              Application to Adm it C ounse l Pro Hac Vice                        C O R C O R AN
 435          06/02/2017         AFFIDAVIT                    Affidavit of Lawre nce L. Budne r in Support of Application         KIER AN M
                                                              to Adm it C ounse l Pro Hac Vice                                    C O R C O R AN
 436          06/02/2017         AFFIDAVIT                    Affidavit of C harle s Je ffre y Price in Support of                KIER AN M
                                                              Application to Adm it C ounse l Pro Hac Vice                        C O R C O R AN
 437          06/02/2017         O R DER ( PR O PO SED )      --none --                                                           KIER AN M
                                                                                                                                  C O R C O R AN
 438          06/13/2017         MEMO R ANDUM O F LAW IN      Ple ase disre gard Motion 30. Docum e nt #438 pe rtains       030   KIER AN M
                                 O PPO SITIO N                to Motion #31.                                                      C O R C O R AN
 439          06/13/2017         AFFIDAVIT O R                Ple ase disre gard Motion 30. Docum e nt #439 pe rtains       030   KIER AN M
                                 AFFIR MATIO N IN SUPPO R T   to Motion #31.                                                      C O R C O R AN
 440          06/13/2017         MEMO R ANDUM O F LAW IN      Plaintiffs' O pposition to De fe ndants' Motion in Lim ine    030   ANDR EW
                                 O PPO SITIO N                                                                                    BR IAN
                                                                                                                                  C LUBO K
 441          06/13/2017         AFFIDAVIT O R              Affirm ation of C . Bodne r in Support of Plaintiffs'           030   ANDR EW
                                 AFFIR MATIO N IN SUPPO R T O pposition to De fe ndants' Motion in Lim ine                        BR IAN
                                                                                                                                  C LUBO K
 442          06/16/2017         O R DER - O THER             Pro Hac Vice - Lack e y He rshm an, LLP                             De bora F
                                                                                                                                  Bak e r
                                                                                                                                  court use r
 443          07/05/2017         TR ANSC R IPT O F            June 27, 2017 Pre -Trial C onfe re nce Transcript                   ANDR EW
                                 PR O C EEDINGS                                                                                   BR IAN
                                                                                                                                  C LUBO K
 444          09/20/2017         DEC ISIO N + O R DER O N     --none --                                                     029   Elle n Apple
                                 MO TIO N                                                                                         court use r
 445          09/21/2017         NO TIC E O F ENTR Y          Notice of Entry of O rde r Ente re d on 9/20/17               029   ANDR EW
                                                                                                                                  BR IAN
                                                                                                                                  C LUBO K
 446          10/18/2017         NO TIC E O F APPEAL          --none --                                                     029   KIER AN M
                                                                                                                                  C O R C O R AN
 447          10/18/2017         PR E-AR GUMENT               --none --                                                     029   KIER AN M
                                 STATEMENT                                                                                        C O R C O R AN
 448          11/24/2017         R EMITTITUR                  --none --                                                           Janaud Mille r
                                                                                                                                  court use r
 449          01/12/2018         DEC ISIO N + O R DER O N     --none --                                                     031   C arol Ann
                                 MO TIO N                                                                                         Boyce
                                                                                                                                  court use r
 450          01/12/2018         DEC ISIO N + O R DER O N     --none --                                                     030   Kim Martin
                                 MO TIO N                                                                                         court use r
 451          02/08/2018         C O NSENT TO C HANGE         --none --                                                           GAYLE R
                                 ATTO R NEY (PO ST R JI)                                                                          KLEIN
 452          03/08/2018         EXPAR TE O R DER             O rde r to Show C ause Adm itting C ounse l Pro Hac Vice      032   GAYLE R
                                 (PR O PO SED)                                                                                    KLEIN
 453          03/08/2018         AFFIR MATIO N                Affirm ation of Gayle R . Kle in in Support of Adm ission     032   GAYLE R
                                                              Pro Hac Vice                                                        KLEIN
 454          03/08/2018         EXHIBIT(S)                   Ex . 1 Affirm ation of Gayle R . Kle in in Support of         032   GAYLE R
                                                              Adm ission Pro Hac Vice                                             KLEIN
 455          03/08/2018         EXHIBIT(S)                   Ex . 2 Affirm ation of Gayle R . Kle in in Support of         032   GAYLE R
                                                              Adm ission Pro Hac Vice                                             KLEIN
 456          03/08/2018         EXHIBIT(S)                   Ex . 3 Affirm ation of Gayle R . Kle in in Support of         032   GAYLE R
                                                              Adm ission Pro Hac Vice                                             KLEIN
 457          03/08/2018         STIPULATIO N - O THER        Stipulation C onse nting to Pro Hac Vice Adm ission           032   GAYLE R
                                                                                                                                  KLEIN
 458          03/12/2018         DEC ISIO N + O R DER O N     --none --                                                     032   Elle n Apple
                                 MO TIO N                                                                                         court use r
 459          03/13/2018         LETTER /                     Joint le tte r re garding June 4 trial                              GAYLE R
                                 C O R R ESPO NDENC E TO                                                                          KLEIN
                                 JUDGE
 460          03/21/2018         NO TIC E O F ENTR Y          Notice of Entry                                                     ANDR EW
                                                                                                                                  BR IAN
                                                                                                                                  C LUBO K
 461          03/21/2018         NO TIC E O F ENTR Y          Notice of Entry                                               026   ANDR EW
                                                                                                                                  BR IAN
                                                                                                                                  C LUBO K
 462          03/21/2018         NO TIC E O F ENTR Y          Notice of Entry                                               027   ANDR EW
                                                                                                                                  BR IAN
                                                                                                                                  C LUBO K
 463          04/17/2018         NO TIC E O F MO TIO N        --none --                                                     033   ANDR EW
                                                                                                                                  BR IAN
                                                                                                                                  C LUBO K
 464          04/17/2018         AFFIDAVIT O R              Affirm ation of Andre w B. C lubok                              033   ANDR EW
                                 AFFIR MATIO N IN SUPPO R T                                                                       BR IAN
                                 O F MO TIO N                                                                                     C LUBO K
 465          04/17/2018         AFFIDAVIT O R              Affidavit of Elizabe th De e le y                               033   ANDR EW
                                 AFFIR MATIO N IN SUPPO R T                                                                       BR IAN
                                 O F MO TIO N                                                                                     C LUBO K
 466          04/17/2018         EXHIBIT(S)                 C e rtificate of Good Standing                                  033   ANDR EW
                                                                                                                                  BR IAN
                                                                                                                                  C LUBO K
 467          04/17/2018         STIPULATIO N - O THER        Stipulation C onse nting to Pro Hac Vice Adm ission           033   ANDR EW
https://iapps.courts.state.ny.us/webcivil/FCASeFiledDocsDetail?county_code=mX_PLUS_funevHqkNtw6wbl9UCA%3D%3D&txtIndexNo=jITJZojBbCBCYjm…      20/27
2/1/2021   Case 19-34054-sgj11 Doc 1877-8 Filed 02/01/21
                                             WebCivil             Entered
                                                      Supreme - eFiled       02/01/21
                                                                       Documents Detail 18:22:33                             Page 22 of
                                                        28                                                                         BR IAN
                                                                                                                                   C LUBO K
 468          04/17/2018         O R DER ( PR O PO SED )     (Propose d) O rde r Adm itting Attorne y Pro Hac Vice           033   ANDR EW
                                                                                                                                   BR IAN
                                                                                                                                   C LUBO K
 469          04/18/2018         MEMO R ANDUM                De fe ndants Me m orandum of Law in Support of a Single               GAYLE R
                                                             Trial                                                                 KLEIN
 470          04/18/2018         EXHIBIT(S)                  Ex . A to De fe ndants Me m orandum of Law in Support of              GAYLE R
                                                             a Single Trial                                                        KLEIN
 471          04/18/2018         EXHIBIT(S)                  Ex . B to De fe ndants Me m orandum of Law in Support of              GAYLE R
                                                             a Single Trial                                                        KLEIN
 472          04/18/2018         PR E-TR IAL MEMO R ANDUM    Plaintiffs' Pre -Trial Brie f in Support of Bifurcation of            ANDR EW
                                                             Trial                                                                 BR IAN
                                                                                                                                   C LUBO K
 473          04/18/2018         AFFIR MATIO N               Affirm ation of Michae l A. O nufe r in Support of Plaintiffs         ANDR EW
                                                             Brie f in Support of Bifurcation of Trial                             BR IAN
                                                                                                                                   C LUBO K
 474          04/18/2018         EXHIBIT(S)                  R e structure d Engage m e nt Ltr.                                    ANDR EW
                                                                                                                                   BR IAN
                                                                                                                                   C LUBO K
 475          04/18/2018         EXHIBIT(S)                  R e structure d C ash W are house Agm t.                              ANDR EW
                                                                                                                                   BR IAN
                                                                                                                                   C LUBO K
 476          04/18/2018         EXHIBIT(S)                  R e structure d Synthe tic W are house Agm t.                         ANDR EW
                                                                                                                                   BR IAN
                                                                                                                                   C LUBO K
 477          04/18/2018         EXHIBIT(S)                  C onfide ntial Pursuant to Prote ctive O rde r                        ANDR EW
                                                                                                                                   BR IAN
                                                                                                                                   C LUBO K
 478          04/18/2018         EXHIBIT(S)                  C onfide ntial Pursuant to Prote ctive O rde r                        ANDR EW
                                                                                                                                   BR IAN
                                                                                                                                   C LUBO K
 479          04/18/2018         EXHIBIT(S)                  C onfide ntial Pursuant to Prote ctive O rde r                        ANDR EW
                                                                                                                                   BR IAN
                                                                                                                                   C LUBO K
 480          04/18/2018         EXHIBIT(S)                  12/03/2008 Notice of Faile d C ollate ral De posit                    ANDR EW
                                                                                                                                   BR IAN
                                                                                                                                   C LUBO K
 481          04/18/2018         EXHIBIT(S)                  C onfide ntial Pursuant to Prote ctive O rde r                        ANDR EW
                                                                                                                                   BR IAN
                                                                                                                                   C LUBO K
 482          04/18/2018         EXHIBIT(S)                  12/19/2008 De m and for Paym e nt                                     ANDR EW
                                                                                                                                   BR IAN
                                                                                                                                   C LUBO K
 483          04/18/2018         EXHIBIT(S)                  12/19/2008 De m and for Paym e nt                                     ANDR EW
                                                                                                                                   BR IAN
                                                                                                                                   C LUBO K
 484          04/18/2018         EXHIBIT(S)                  Se cond Am e nde d C om plaint                                        ANDR EW
                                                                                                                                   BR IAN
                                                                                                                                   C LUBO K
 485          04/18/2018         EXHIBIT(S)                  UBS v. HC M 2010 C om plaint                                          ANDR EW
                                                                                                                                   BR IAN
                                                                                                                                   C LUBO K
 486          04/18/2018         EXHIBIT(S)                  HC M Am e nde d Answe r & C ounte rclaim s                            ANDR EW
                                                                                                                                   BR IAN
                                                                                                                                   C LUBO K
 487          04/18/2018         EXHIBIT(S)                  11/10/2014 C orcoran Le tte r                                         ANDR EW
                                                                                                                                   BR IAN
                                                                                                                                   C LUBO K
 488          04/18/2018         EXHIBIT(S)                  11/13/2014 C lubok Le tte r                                           ANDR EW
                                                                                                                                   BR IAN
                                                                                                                                   C LUBO K
 489          04/18/2018         EXHIBIT(S)                  06/27/2017 Pre trial C onf. Tr.                                       ANDR EW
                                                                                                                                   BR IAN
                                                                                                                                   C LUBO K
 490          04/18/2018         EXHIBIT(S)                  10/31/2017 1st De pt De cision                                        ANDR EW
                                                                                                                                   BR IAN
                                                                                                                                   C LUBO K
 491          04/18/2018         EXHIBIT(S)                  03/15/2018 1st De pt De cision                                        ANDR EW
                                                                                                                                   BR IAN
                                                                                                                                   C LUBO K
 492          04/18/2018         EXHIBIT(S)                  03/13/2008 Joint Le tte r to J. Frie dm an                            ANDR EW
                                                                                                                                   BR IAN
                                                                                                                                   C LUBO K
 493          04/18/2018         AFFIR MATIO N/AFFIDAVIT     --none --                                                             ANDR EW
                                 O F SER VIC E                                                                                     BR IAN
                                                                                                                                   C LUBO K
 494          05/04/2018         TR ANSC R IPT O F           --none --                                                             ANDR EW
                                 PR O C EEDINGS                                                                                    BR IAN
                                                                                                                                   C LUBO K
 495          05/04/2018         EXHIBIT(S)                  Errata She e t                                                        ANDR EW
                                                                                                                                   BR IAN
                                                                                                                                   C LUBO K

https://iapps.courts.state.ny.us/webcivil/FCASeFiledDocsDetail?county_code=mX_PLUS_funevHqkNtw6wbl9UCA%3D%3D&txtIndexNo=jITJZojBbCBCYjm…      21/27
2/1/2021   Case 19-34054-sgj11 Doc 1877-8 Filed  02/01/21
                                             WebCivil              Entered
                                                      Supreme - eFiled  Documents02/01/21
                                                                                   Detail       18:22:33 Page 23 of
 496          05/09/2018  LETTER /                       28
                                              Joint Le tte r to Justice Frie dm an re : Pre trial Brie fing and ANDR EW
                                 C O R R ESPO NDENC E TO     Sche dule                                                              BR IAN
                                 JUDGE                                                                                              C LUBO K
 497           05/21/2018        DEC ISIO N + O R DER O N    --none --                                                        033   C e lia
                                 MO TIO N                                                                                           R odrigue z
                                                                                                                                    court use r
 498           06/04/2018        PR E-TR IAL MEMO R ANDUM    Pre -Trial Brie f                                                      GAYLE R
                                                                                                                                    KLEIN
 499           06/04/2018        AFFIR MATIO N               Kle in Affirm ation                                                    GAYLE R
                                                                                                                                    KLEIN
 500           06/04/2018        EXHIBIT(S)                  UBS Annual R e port                                                    GAYLE R
                                                                                                                                    KLEIN
 501           06/04/2018        EXHIBIT(S)                  UBS May 18 Em ail                                                      GAYLE R
                                                                                                                                    KLEIN
 502           06/04/2018        EXHIBIT(S)                  Propose d 2nd Am e nde d Answe r                                       GAYLE R
                                                                                                                                    KLEIN
 503           06/04/2018        EXHIBIT(S)                  UBS May 31 Em ail                                                      GAYLE R
                                                                                                                                    KLEIN
 504           06/04/2018        EXHIBIT(S)                  Dudne y R e buttal R e port                                            GAYLE R
                                                                                                                                    KLEIN
 505           06/04/2018        PR E-TR IAL MEMO R ANDUM    Plaintiffs' Pre -Trial Brie f on Le gal Issue s                        ANDR EW
                                                                                                                                    BR IAN
                                                                                                                                    C LUBO K
 506           06/04/2018        AFFIR MATIO N               Affirm ation of Michae l A. O nufe r in Support of Plaintiffs'         ANDR EW
                                                             Pre -Trial Brie f on Le gal Issue s                                    BR IAN
                                                                                                                                    C LUBO K
 507           06/04/2018        EXHIBIT(S)                  Engage m e nt Le tte r                                                 ANDR EW
                                                                                                                                    BR IAN
                                                                                                                                    C LUBO K
 508           06/04/2018        EXHIBIT(S)                  C ash W are house Agm t.                                               ANDR EW
                                                                                                                                    BR IAN
                                                                                                                                    C LUBO K
 509           06/04/2018        EXHIBIT(S)                  Synthe tic W are house Agm t.                                          ANDR EW
                                                                                                                                    BR IAN
                                                                                                                                    C LUBO K
 510           06/04/2018        EXHIBIT(S)                  C onfide ntial Pursuant to Prote ctive O rde r                         ANDR EW
                                                                                                                                    BR IAN
                                                                                                                                    C LUBO K
 511           06/04/2018        EXHIBIT(S)                  5-1-2018 Te le phonic C onfe re nce Transcript                         ANDR EW
                                                                                                                                    BR IAN
                                                                                                                                    C LUBO K
 512           06/04/2018        EXHIBIT(S)                  C re dit De fault Swaps                                                ANDR EW
                                                                                                                                    BR IAN
                                                                                                                                    C LUBO K
 513           06/04/2018        EXHIBIT(S)                  AIG in Hindsight                                                       ANDR EW
                                                                                                                                    BR IAN
                                                                                                                                    C LUBO K
 514           06/04/2018        EXHIBIT(S)                  Bloom be rg Scre e n Shots                                             ANDR EW
                                                                                                                                    BR IAN
                                                                                                                                    C LUBO K
 515           06/04/2018        EXHIBIT(S)                  C onfide ntial Pursuant to Prote ctive O rde r                         ANDR EW
                                                                                                                                    BR IAN
                                                                                                                                    C LUBO K
 516           06/04/2018        EXHIBIT(S)                  C onfide ntial Pursuant to Prote ctive O rde r                         ANDR EW
                                                                                                                                    BR IAN
                                                                                                                                    C LUBO K
 517           06/04/2018        EXHIBIT(S)                  C onfide ntial Pursuant to Prote ctive O rde r                         ANDR EW
                                                                                                                                    BR IAN
                                                                                                                                    C LUBO K
 518           06/04/2018        EXHIBIT(S)                  C onfide ntial Pursuant to Prote ctive O rde r                         ANDR EW
                                                                                                                                    BR IAN
                                                                                                                                    C LUBO K
 519           06/04/2018        EXHIBIT(S)                  C onfide ntial Pursuant to Prote ctive O rde r                         ANDR EW
                                                                                                                                    BR IAN
                                                                                                                                    C LUBO K
 520           06/04/2018        EXHIBIT(S)                  C onfide ntial Pursuant to Prote ctive O rde r                         ANDR EW
                                                                                                                                    BR IAN
                                                                                                                                    C LUBO K
 521           06/04/2018        EXHIBIT(S)                  C onfide ntial Pursuant to Prote ctive O rde r                         ANDR EW
                                                                                                                                    BR IAN
                                                                                                                                    C LUBO K
 522           06/04/2018        EXHIBIT(S)                  C onfide ntial Pursuant to Prote ctive O rde r                         ANDR EW
                                                                                                                                    BR IAN
                                                                                                                                    C LUBO K
 523           06/04/2018        EXHIBIT(S)                  O riginal Synthe tic W are house Agm t.                                ANDR EW
                                                                                                                                    BR IAN
                                                                                                                                    C LUBO K
 524           06/04/2018        EXHIBIT(S)                  C onfide ntial Pursuant to Prote ctive O rde r                         ANDR EW
                                                                                                                                    BR IAN
                                                                                                                                    C LUBO K
 525           06/04/2018        EXHIBIT(S)                  C onfide ntial Pursuant to Prote ctive O rde r                         ANDR EW
                                                                                                                                    BR IAN
                                                                                                                                    C LUBO K

https://iapps.courts.state.ny.us/webcivil/FCASeFiledDocsDetail?county_code=mX_PLUS_funevHqkNtw6wbl9UCA%3D%3D&txtIndexNo=jITJZojBbCBCYjm…          22/27
2/1/2021   Case 19-34054-sgj11 Doc 1877-8 Filed  02/01/21
                                             WebCivil             Entered
                                                      Supreme - eFiled        02/01/21
                                                                       Documents  Detail     18:22:33                       Page 24 of
 526          06/04/2018  EXHIBIT(S)                    28
                                              C onfide ntial Pursuant to Prote ctive O rde r                                     ANDR EW
                                                                                                                                 BR IAN
                                                                                                                                 C LUBO K
 527           06/04/2018        EXHIBIT(S)                  C onfide ntial Pursuant to Prote ctive O rde r                      ANDR EW
                                                                                                                                 BR IAN
                                                                                                                                 C LUBO K
 528           06/04/2018        EXHIBIT(S)                  C onfide ntial Pursuant to Prote ctive O rde r                      ANDR EW
                                                                                                                                 BR IAN
                                                                                                                                 C LUBO K
 529           06/04/2018        EXHIBIT(S)                  C onfide ntial Pursuant to Prote ctive O rde r                      ANDR EW
                                                                                                                                 BR IAN
                                                                                                                                 C LUBO K
 530           06/04/2018        EXHIBIT(S)                  C onfide ntial Pursuant to Prote ctive O rde r                      ANDR EW
                                                                                                                                 BR IAN
                                                                                                                                 C LUBO K
 531           06/04/2018        EXHIBIT(S)                  C onfide ntial Pursuant to Prote ctive O rde r                      ANDR EW
                                                                                                                                 BR IAN
                                                                                                                                 C LUBO K
 532           06/04/2018        EXHIBIT(S)                  UBS-00006056-57                                                     ANDR EW
                                                                                                                                 BR IAN
                                                                                                                                 C LUBO K
 533           06/04/2018        EXHIBIT(S)                  C onfide ntial Pursuant to Prote ctive O rde r                      ANDR EW
                                                                                                                                 BR IAN
                                                                                                                                 C LUBO K
 534           06/04/2018        EXHIBIT(S)                  C onfide ntial Pursuant to Prote ctive O rde r                      ANDR EW
                                                                                                                                 BR IAN
                                                                                                                                 C LUBO K
 535           06/04/2018        EXHIBIT(S)                  C onfide ntial Pursuant to Prote ctive O rde r                      ANDR EW
                                                                                                                                 BR IAN
                                                                                                                                 C LUBO K
 536           06/04/2018        EXHIBIT(S)                  C onfide ntial Pursuant to Prote ctive O rde r                      ANDR EW
                                                                                                                                 BR IAN
                                                                                                                                 C LUBO K
 537           06/04/2018        EXHIBIT(S)                  C onfide ntial Pursuant to Prote ctive O rde r                      ANDR EW
                                                                                                                                 BR IAN
                                                                                                                                 C LUBO K
 538           06/04/2018        EXHIBIT(S)                  C onfide ntial Pursuant to Prote ctive O rde r                      ANDR EW
                                                                                                                                 BR IAN
                                                                                                                                 C LUBO K
 539           06/04/2018        EXHIBIT(S)                  O rbis C om pany R e port                                           ANDR EW
                                                                                                                                 BR IAN
                                                                                                                                 C LUBO K
 540           06/04/2018        EXHIBIT(S)                  C onfide ntial Pursuant to Prote ctive O rde r                      ANDR EW
                                                                                                                                 BR IAN
                                                                                                                                 C LUBO K
 541           06/04/2018        EXHIBIT(S)                  C onfide ntial Pursuant to Prote ctive O rde r                      ANDR EW
                                                                                                                                 BR IAN
                                                                                                                                 C LUBO K
 542           06/08/2018        LETTER /                    June 8, 2018 Joint Le tte r                                         ANDR EW
                                 C O R R ESPO NDENC E TO                                                                         BR IAN
                                 JUDGE                                                                                           C LUBO K
 543           06/08/2018        EXHIBIT(S)                  6/8/18 Ex hibit                                                     ANDR EW
                                                                                                                                 BR IAN
                                                                                                                                 C LUBO K
 544           06/11/2018        NO TIC E O F APPEAR ANC E   Notice of Appe arance of Alysha M. Naik                             ALYSHA M.
                                 (PO ST R JI)                                                                                    NAIK
 545           06/11/2018        NO TIC E O F APPEAR ANC E   Notice of Appe arance of Kuangyan Huang                             KUANGYAN
                                 (PO ST R JI)                                                                                    HUANG
 546           06/12/2018        NO TIC E O F APPEAR ANC E   Notice of Appe arance Jillian M. R aine s                           JILLIAN
                                 (PO ST R JI)                                                                                    MIC HELE
                                                                                                                                 R AINES
 547           06/12/2018        NO TIC E O F APPEAR ANC E   Notice of Appe arance John C . Briody                               JO HN
                                 (PO ST R JI)                                                                                    C HR ISTO PHER
                                                                                                                                 BR IO DY
 548           06/12/2018        NO TIC E O F APPEAR ANC E   Notice of Appe arance Elizabe th V. C urran                         ELIZABETH
                                 (PO ST R JI)                                                                                    C UR R AN
 549           06/12/2018        O R DER ( PR O PO SED )     [Propose d] Agre e d O rde r R e garding Pre trial Evide nce        GAYLE R
                                                                                                                                 KLEIN
 550           06/19/2018        TR ANSC R IPT O F           Transcript of pre -trial confe re nce he ld be fore Justice         ANDR EW
                                 PR O C EEDINGS              Frie dm an on June 12, 2018                                         BR IAN
                                                                                                                                 C LUBO K
 551           06/20/2018        PR E-TR IAL MEMO R ANDUM    Plaintiffs' Pre -Trial R e sponse Brie f on Le gal Issue s          ANDR EW
                                                                                                                                 BR IAN
                                                                                                                                 C LUBO K
 552           06/20/2018        AFFIR MATIO N               Supple m e ntal Affirm ation of Michae l A. O nufe r in             ANDR EW
                                                             Support of Plaintiffs' Pre -Trial Brie f on Le gal Issue s          BR IAN
                                                                                                                                 C LUBO K
 553           06/20/2018        EXHIBIT(S)                  C onfide ntial Pursuant to Prote ctive O rde r                      ANDR EW
                                                                                                                                 BR IAN
                                                                                                                                 C LUBO K
 554           06/20/2018        EXHIBIT(S)                  C onfide ntial Pursuant to Prote ctive O rde r                      ANDR EW
                                                                                                                                 BR IAN
                                                                                                                                 C LUBO K

https://iapps.courts.state.ny.us/webcivil/FCASeFiledDocsDetail?county_code=mX_PLUS_funevHqkNtw6wbl9UCA%3D%3D&txtIndexNo=jITJZojBbCBCYjm…    23/27
2/1/2021   Case 19-34054-sgj11 Doc 1877-8 Filed  02/01/21
                                             WebCivil             Entered
                                                      Supreme - eFiled        02/01/21
                                                                       Documents  Detail     18:22:33                    Page 25 of
 555          06/20/2018  EXHIBIT(S)                    28
                                              C onfide ntial Pursuant to Prote ctive O rde r                                   ANDR EW
                                                                                                                               BR IAN
                                                                                                                               C LUBO K
 556           06/20/2018        EXHIBIT(S)                  C onfide ntial Pursuant to Prote ctive O rde r                    ANDR EW
                                                                                                                               BR IAN
                                                                                                                               C LUBO K
 557           06/20/2018        EXHIBIT(S)                  C onfide ntial Pursuant to Prote ctive O rde r                    ANDR EW
                                                                                                                               BR IAN
                                                                                                                               C LUBO K
 558           06/20/2018        EXHIBIT(S)                  C onfide ntial Pursuant to Prote ctive O rde r                    ANDR EW
                                                                                                                               BR IAN
                                                                                                                               C LUBO K
 559           06/20/2018        EXHIBIT(S)                  C onfide ntial Pursuant to Prote ctive O rde r                    ANDR EW
                                                                                                                               BR IAN
                                                                                                                               C LUBO K
 560           06/20/2018        EXHIBIT(S)                  C onfide ntial Pursuant to Prote ctive O rde r                    ANDR EW
                                                                                                                               BR IAN
                                                                                                                               C LUBO K
 561           06/20/2018        PR E-TR IAL MEMO R ANDUM    De fe ndants Supple m e ntal Phase I Pre -Trial Brie f            GAYLE R
                                                                                                                               KLEIN
 562           06/20/2018        AFFIR MATIO N               Kle in Affirm ation in Support of De fe ndants                    GAYLE R
                                                             Supple m e ntal Phase I Pre -Trial Brie f                         KLEIN
 563           06/20/2018        EXHIBIT(S)                  UBS e m ail January 8, 2008                                       GAYLE R
                                                                                                                               KLEIN
 564           06/20/2018        EXHIBIT(S)                  Transcript e x ce rpts                                            GAYLE R
                                                                                                                               KLEIN
 565           06/20/2018        EXHIBIT(S)                  UBS form                                                          GAYLE R
                                                                                                                               KLEIN
 566           06/20/2018        EXHIBIT(S)                  UBS e m ail March 28, 2008                                        GAYLE R
                                                                                                                               KLEIN
 567           06/20/2018        EXHIBIT(S)                  UBS e m ail March 14, 2008                                        GAYLE R
                                                                                                                               KLEIN
 568           06/20/2018        EXHIBIT(S)                  Ex pe rt R e port                                                 GAYLE R
                                                                                                                               KLEIN
 569           06/20/2018        EXHIBIT(S)                  O Brie n O bituary                                                GAYLE R
                                                                                                                               KLEIN
 570           06/20/2018        EXHIBIT(S)                  Ex pe rt R e port                                                 GAYLE R
                                                                                                                               KLEIN
 571           06/20/2018        EXHIBIT(S)                  Arche r Danie ls v. AO N                                          GAYLE R
                                                                                                                               KLEIN
 572           06/29/2018        NO TIC E O F APPEAR ANC E   Notice of Appe arance                                             SUSAN E.
                                 (PO ST R JI)                                                                                  ENGEL
 573           07/06/2018        NO TIC E O F MO TIO N       --none --                                                   034   ANDR EW
                                                                                                                               BR IAN
                                                                                                                               C LUBO K
 574           07/06/2018        AFFIDAVIT O R              Affirm ation of Andre w B. C lubok                           034   ANDR EW
                                 AFFIR MATIO N IN SUPPO R T                                                                    BR IAN
                                 O F MO TIO N                                                                                  C LUBO K
 575           07/06/2018        AFFIDAVIT O R              Affidavit of R obbie J. Norton                               034   ANDR EW
                                 AFFIR MATIO N IN SUPPO R T                                                                    BR IAN
                                 O F MO TIO N                                                                                  C LUBO K
 576           07/06/2018        EXHIBIT(S)                 C e rtificate s of Good Standing                             034   ANDR EW
                                                                                                                               BR IAN
                                                                                                                               C LUBO K
 577           07/06/2018        STIPULATIO N - O THER       Stipulation C onse nting to Pro Hac Vice Adm ission         034   ANDR EW
                                                                                                                               BR IAN
                                                                                                                               C LUBO K
 578           07/06/2018        O R DER ( PR O PO SED )     (Propose d) O rde r Adm itting Attorne y Pro Hac Vice       034   ANDR EW
                                                                                                                               BR IAN
                                                                                                                               C LUBO K
 579           07/12/2018        EXPAR TE O R DER            O rde r to Show C ause Adm itting C ounse l Pro Hac Vice    035   GAYLE R
                                 (PR O PO SED)                                                                                 KLEIN
 580           07/12/2018        AFFIR MATIO N               Affirm ation of Gayle R . Kle in in Support of Adm ission   035   GAYLE R
                                                             Pro Hac Vice                                                      KLEIN
 581           07/12/2018        EXHIBIT(S)                  Ex . 1 Affirm ation of Gayle R . Kle in in Support of       035   GAYLE R
                                                             Adm ission Pro Hac Vice                                           KLEIN
 582           07/12/2018        STIPULATIO N - O THER       Stipulation C onse nting to Pro Hac Vice Adm ission         035   GAYLE R
                                                                                                                               KLEIN
 583           07/26/2018        DEC ISIO N + O R DER O N    --none --                                                   035   C e lia
                                 MO TIO N                                                                                      R odrigue z
                                                                                                                               court use r
 584           07/26/2018        DEC ISIO N + O R DER O N    --none --                                                   034   C e lia
                                 MO TIO N                                                                                      R odrigue z
                                                                                                                               court use r
 585           08/16/2018        NO TIC E O F ENTR Y         --none --                                                   026   ANDR EW
                                                                                                                               BR IAN
                                                                                                                               C LUBO K
 586           08/16/2018        NO TIC E O F ENTR Y         --none --                                                   027   ANDR EW
                                                                                                                               BR IAN
                                                                                                                               C LUBO K
 587           10/03/2018        STIPULATIO N - O THER - ( Stipulation and [Propose d] O rde r                                 ANDR EW
                                 R EQ UEST TO SO O R DER )                                                                     BR IAN
                                                                                                                               C LUBO K
https://iapps.courts.state.ny.us/webcivil/FCASeFiledDocsDetail?county_code=mX_PLUS_funevHqkNtw6wbl9UCA%3D%3D&txtIndexNo=jITJZojBbCBCYjm…     24/27
2/1/2021   Case 19-34054-sgj11 Doc 1877-8 Filed  02/01/21
                                             WebCivil             Entered
                                                      Supreme - eFiled       02/01/21
                                                                       Documents Detail 18:22:33                             Page 26 of
 588          10/04/2018  O R DER - O THER    --none -- 28                                                                         Fre d
                                                                                                                                   W hitm arsh
                                                                                                                                   court use r
 589          10/09/2018         STIPULATIO N - O THER       Stipulation & Propose d O rde r re Brie fing Sche dule                GAYLE R
                                                                                                                                   KLEIN
 590          10/10/2018         FINDINGS O F                --none --                                                             ANDR EW
                                 FAC T/C O NC LUSIO NS O F                                                                         BR IAN
                                 LAW (PR O PO SED)                                                                                 C LUBO K
 591          10/10/2018         MEMO R ANDUM                Plaintiffs' Post-Trial Brie f on Le gal Issue s (R e dacte d)         ANDR EW
                                                                                                                                   BR IAN
                                                                                                                                   C LUBO K
 592          10/10/2018         MEMO R ANDUM                Post Trial Me m orandum                                               GAYLE R
                                                                                                                                   KLEIN
 593          10/10/2018         AFFIR MATIO N               Kle in Affirm ation in Support Post Trial Me m orandum                GAYLE R
                                                                                                                                   KLEIN
 594          10/10/2018         EXHIBIT(S)                  Ex . 1 Kle in Affirm ation in Support Post Trial                      GAYLE R
                                                             Me m orandum                                                          KLEIN
 595          10/10/2018         EXHIBIT(S)                  Ex . 2 Kle in Affirm ation in Support Post Trial                      GAYLE R
                                                             Me m orandum                                                          KLEIN
 596          10/10/2018         EXHIBIT(S)                  Ex . 3 Kle in Affirm ation in Support Post Trial                      GAYLE R
                                                             Me m orandum                                                          KLEIN
 597          10/10/2018         FINDINGS O F                The Fund C ounte rpartie s' and Highland C apital                     GAYLE R
                                 FAC T/C O NC LUSIO NS O F   Manage m e nt, L.P.'s Propose d Findings of Fact and                  KLEIN
                                 LAW (PR O PO SED)           C onclusions of Law
 598          10/11/2018         TR ANSC R IPT O F           Transcript of Trial he ld on July 9, 2018                             ANDR EW
                                 PR O C EEDINGS                                                                                    BR IAN
                                                                                                                                   C LUBO K
 599          10/11/2018         TR ANSC R IPT O F           Transcript of Trial he ld on July 10, 2018                            ANDR EW
                                 PR O C EEDINGS                                                                                    BR IAN
                                                                                                                                   C LUBO K
 600          10/11/2018         TR ANSC R IPT O F           Transcript of Trial he ld on July 11, 2018                            ANDR EW
                                 PR O C EEDINGS                                                                                    BR IAN
                                                                                                                                   C LUBO K
 601          10/11/2018         TR ANSC R IPT O F           Transcript of Trial he ld on July 12, 2018                            ANDR EW
                                 PR O C EEDINGS                                                                                    BR IAN
                                                                                                                                   C LUBO K
 602          10/11/2018         TR ANSC R IPT O F           Transcript of Trial he ld on July 13, 2018                            ANDR EW
                                 PR O C EEDINGS                                                                                    BR IAN
                                                                                                                                   C LUBO K
 603          10/11/2018         TR ANSC R IPT O F           Transcript of Trial he ld on July 16, 2018                            ANDR EW
                                 PR O C EEDINGS                                                                                    BR IAN
                                                                                                                                   C LUBO K
 604          10/11/2018         TR ANSC R IPT O F           Transcript of Trial he ld on July 17, 2018                            ANDR EW
                                 PR O C EEDINGS                                                                                    BR IAN
                                                                                                                                   C LUBO K
 605          10/11/2018         TR ANSC R IPT O F           Transcript of Trial he ld on July 18, 2018                            ANDR EW
                                 PR O C EEDINGS                                                                                    BR IAN
                                                                                                                                   C LUBO K
 606          10/11/2018         TR ANSC R IPT O F           Transcript of Trial he ld on July 19, 2018                            ANDR EW
                                 PR O C EEDINGS                                                                                    BR IAN
                                                                                                                                   C LUBO K
 607          10/11/2018         TR ANSC R IPT O F           Transcript of Trial he ld on July 20, 2018                            ANDR EW
                                 PR O C EEDINGS                                                                                    BR IAN
                                                                                                                                   C LUBO K
 608          10/11/2018         TR ANSC R IPT O F           Transcript of Trial he ld on July 25, 2018                            ANDR EW
                                 PR O C EEDINGS                                                                                    BR IAN
                                                                                                                                   C LUBO K
 609          10/11/2018         TR ANSC R IPT O F           Transcript of Trial he ld on July 26, 2018                            ANDR EW
                                 PR O C EEDINGS                                                                                    BR IAN
                                                                                                                                   C LUBO K
 610          10/11/2018         TR ANSC R IPT O F           Transcript of Trial he ld on July 27, 2018                            ANDR EW
                                 PR O C EEDINGS                                                                                    BR IAN
                                                                                                                                   C LUBO K
 611          10/11/2018         INFO R MATIO NAL            Errata She e t for July 9, 2018 July 27, 2018 Trial                   ANDR EW
                                 STATEMENT                   Transcripts                                                           BR IAN
                                                                                                                                   C LUBO K
 612          12/03/2018         NO TIC E O F ENTR Y         Notice of Entry                                                 026   ANDR EW
                                                                                                                                   BR IAN
                                                                                                                                   C LUBO K
 613          12/03/2018         NO TIC E O F ENTR Y         Notice of Entry                                                 027   ANDR EW
                                                                                                                                   BR IAN
                                                                                                                                   C LUBO K
 614          12/19/2018         LETTER /                    Joint le tte r to Judge Frie dm an re Trial Ex hibit Lists            GAYLE R
                                 C O R R ESPO NDENC E TO                                                                           KLEIN
                                 JUDGE
 615          12/19/2018         EXHIBIT(S)                  Joint Trial Ex hibit Lists                                            GAYLE R
                                                                                                                                   KLEIN
 616          04/01/2019         C O NSENT TO C HANGE        C onse nt to Substitution of Attorne y                                JEFFR EY E
                                 ATTO R NEY (PO ST R JI)                                                                           GR O SS
 617          06/06/2019         NO TIC E O F MO TIO N   Notice of Motion for an O rde r granting De fe ndants    036              ANGELA
                                                         Judgm e nt During Trial on the Fifth C ause of Action in                  JENNIFER
                                                         the Se cond Am e nde d C om plaint                                        SO MER S
 618          06/06/2019         MEMO R ANDUM O F LAW IN Me m orandum of Law in Support of Motion for an O rde r 036               ANGELA

https://iapps.courts.state.ny.us/webcivil/FCASeFiledDocsDetail?county_code=mX_PLUS_funevHqkNtw6wbl9UCA%3D%3D&txtIndexNo=jITJZojBbCBCYjm…         25/27
2/1/2021   Case 19-34054-sgj11 Doc 1877-8 Filed  02/01/21
                                             WebCivil             Entered
                                                      Supreme - eFiled       02/01/21
                                                                       Documents Detail   18:22:33 Page 27 of
                          SUPPO R T                     28
                                              granting De fe ndants Judgm e nt During Trial on the Fifth JENNIFER
                                                            C ause of Action in the Se cond Am e nde d C om plaint             SO MER S
 619          06/06/2019         AFFIDAVIT O R              Affirm ation of Ange la J. Som e rs in Support of Motion   036     ANGELA
                                 AFFIR MATIO N IN SUPPO R T                                                                    JENNIFER
                                 O F MO TIO N                                                                                  SO MER S
 620          06/06/2019         EXHIBIT(S)                 C onfide ntial                                             036     ANGELA
                                                                                                                               JENNIFER
                                                                                                                               SO MER S
 621          06/06/2019         EXHIBIT(S)                  C onfide ntial                                            036     ANGELA
                                                                                                                               JENNIFER
                                                                                                                               SO MER S
 622          06/06/2019         EXHIBIT(S)                  C onfide ntial                                            036     ANGELA
                                                                                                                               JENNIFER
                                                                                                                               SO MER S
 623          06/06/2019         EXHIBIT(S)                  C onfide ntial                                            036     ANGELA
                                                                                                                               JENNIFER
                                                                                                                               SO MER S
 624          06/06/2019         EXHIBIT(S)                  C onfide ntial                                            036     ANGELA
                                                                                                                               JENNIFER
                                                                                                                               SO MER S
 625          06/06/2019         EXHIBIT(S)                  C onfide ntial                                            036     ANGELA
                                                                                                                               JENNIFER
                                                                                                                               SO MER S
 626          06/06/2019         EXHIBIT(S)                  O riginal Synthe tic W are house                          036     ANGELA
                                                                                                                               JENNIFER
                                                                                                                               SO MER S
 627          06/06/2019         EXHIBIT(S)                  O riginal C ash W are house                               036     ANGELA
                                                                                                                               JENNIFER
                                                                                                                               SO MER S
 628          06/06/2019         EXHIBIT(S)                  O riginal LO E                                            036     ANGELA
                                                                                                                               JENNIFER
                                                                                                                               SO MER S
 629          06/06/2019         EXHIBIT(S)                  Synthe tic W are house Agre e m e nt                      036     ANGELA
                                                                                                                               JENNIFER
                                                                                                                               SO MER S
 630          06/06/2019         EXHIBIT(S)                  2008 C ash W are house Agre e m e nt                      036     ANGELA
                                                                                                                               JENNIFER
                                                                                                                               SO MER S
 631          06/06/2019         EXHIBIT(S)                  March 2008 LO E                                           036     ANGELA
                                                                                                                               JENNIFER
                                                                                                                               SO MER S
 632          06/06/2019         EXHIBIT(S)                  Trial Ex ce rpts                                          036     ANGELA
                                                                                                                               JENNIFER
                                                                                                                               SO MER S
 633          06/06/2019         EXHIBIT(S)                  C onfide ntial                                            036     ANGELA
                                                                                                                               JENNIFER
                                                                                                                               SO MER S
 634          06/06/2019         EXHIBIT(S)                  C onfide ntial                                            036     ANGELA
                                                                                                                               JENNIFER
                                                                                                                               SO MER S
 635          06/06/2019         EXHIBIT(S)                  C onfide ntial                                            036     ANGELA
                                                                                                                               JENNIFER
                                                                                                                               SO MER S
 636          06/06/2019         AFFIR MATIO N/AFFIDAVIT     --none --                                                 036     ANGELA
                                 O F SER VIC E                                                                                 JENNIFER
                                                                                                                               SO MER S
 637          07/03/2019         STIPULATIO N -            Stipulation W ithdrawing Motion to be So O rde re d         036     ANGELA
                                 W ITHDR AW ING                                                                                JENNIFER
                                 MO TIO N/O R DER TO SHO W                                                                     SO MER S
                                 C AUSE - BEFO R E JUDGE
 638          07/18/2019         DEC ISIO N + O R DER O N  --none --                                                   036     Tiffani
                                 MO TIO N                                                                                      Ste ve ns
                                                                                                                               court use r
 639          10/11/2019         C O NSENT TO C HANGE        Notice of W ithdrawal of Appe arance                              ANDR EW
                                 ATTO R NEY (PO ST R JI)                                                                       BR IAN
                                                                                                                               C LUBO K
 640          10/17/2019         LETTER /                    Le tte r re : bank ruptcy filing                                  ANGELA
                                 C O R R ESPO NDENC E TO                                                                       JENNIFER
                                 JUDGE                                                                                         SO MER S
 641          11/14/2019         O R DER - SEALING           --none --                                                         Frank ie
                                                                                                                               Alm anzar
                                                                                                                               court use r
 642          11/22/2019         LETTER /                    --none --                                                         ANDR EW
                                 C O R R ESPO NDENC E TO                                                                       BR IAN
                                 JUDGE                                                                                         C LUBO K
 643          01/23/2020         O R DER - O THER            --none --                                                         Arle ne
                                                                                                                               Mosche llo
                                                                                                                               court use r
 644          02/10/2020         JUDGMENT - SIGNED BY         --none --                                                        Arle ne
                                 C O UR T TO C O UNTY C LER K                                                                  Mosche llo
                                                                                                                               court use r
 645          01/24/2020         NO TIC E TO C O UNTY        Notice re : C ourt orde r to unse al Dock e t No. 641             ANDR EW
                                 C LER K C PLR 8019(C )                                                                        BR IAN

https://iapps.courts.state.ny.us/webcivil/FCASeFiledDocsDetail?county_code=mX_PLUS_funevHqkNtw6wbl9UCA%3D%3D&txtIndexNo=jITJZojBbCBCYjm…     26/27
2/1/2021   Case 19-34054-sgj11 Doc 1877-8 Filed 02/01/21
                                             WebCivil             Entered
                                                      Supreme - eFiled       02/01/21
                                                                       Documents Detail 18:22:33                       Page 28 of
                                                        28                                                                     C LUBO K
 646          02/10/2020         JUDGMENT                    --none --                                                         Dawn Batts
                                                                                                                               court use r
 647          03/04/2020         O R DER - O THER            --none --                                                         De bora F
                                                                                                                               Bak e r
                                                                                                                               court use r
 648          09/14/2020         NO TIC E O F ENTR Y         --none --                                                         ANDR EW
                                                                                                                               BR IAN
                                                                                                                               C LUBO K
 649          09/14/2020         EXHIBIT(S)                  Judgm e nt e nte re d 2/10/2020                                   ANDR EW
                                                                                                                               BR IAN
                                                                                                                               C LUBO K
 650          09/14/2020         EXHIBIT(S)                  De cision and O rde r e nte re d 11/14/19                         ANDR EW
                                                                                                                               BR IAN
                                                                                                                               C LUBO K
 651          12/09/2020         NO TIFIC ATIO N FR O M      Notice of Ne utral Evaluation Program - C om m e rcial            m ichae l
                                 C O UR T                    Division - Supre m e NY C ivil                                    Habich
                                                                                                                               court use r
 652          12/10/2020         NO TIFIC ATIO N FR O M      C O R R EC TIO N TO PR IO R NO TIC E                              m ichae l
                                 C O UR T                                                                                      Habich
                                                                                                                               court use r


  Close




https://iapps.courts.state.ny.us/webcivil/FCASeFiledDocsDetail?county_code=mX_PLUS_funevHqkNtw6wbl9UCA%3D%3D&txtIndexNo=jITJZojBbCBCYjm…     27/27
